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                                                                         APPEAL,CONSOL
                             U.S. District Court
                  District of Columbia (Washington, DC)
            CIVIL DOCKET FOR CASE #: 1:19−mc−00145−TSC

IN THE MATTER OF THE FEDERAL BUREAU OF            Date Filed: 08/20/2019
PRISONS' EXECUTION PROTOCOL CASES                 Jury Demand: None
Assigned to: Judge Tanya S. Chutkan               Nature of Suit: 550 Prisoner Petition: Civil
Member cases:                                     Rights (Other)
   1:19−cv−03520−TSC                              Jurisdiction: U.S. Government Defendant
   1:20−cv−00474−TSC
   1:20−cv−00557−TSC
 Cases: 1:05−cv−02337−TSC
        1:07−cv−02145−TSC
        1:12−cv−00782−TSC
        1:13−cv−00938−TSC
        1:20−cv−00557−TSC
        1:19−cv−03570−TSC
        1:20−cv−01693−TSC
        1:19−cv−03611−TSC
        1:20−cv−00474−TSC
        1:19−cv−03214−TSC
Case in other court: USCA, 19−05322
Cause: 42:1981 Civil Rights
In Re
IN THE MATTER OF THE
FEDERAL BUREAU OF PRISONS'
EXECUTION PROTOCOL CASES

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                                                   TERMINATED: 07/03/2020

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                                                    Ethan Price Davis
                                                    (See above for address)
                                                    TERMINATED: 07/03/2020

                                                    Jean Lin
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Jonathan D. Kossak
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Defendant
MARK BEZY                               represented by Cristen Cori Handley
Warden, U.S. Penitentiary Terre Haute                  (See above for address)
(05cv2337)                                             LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                    Denise M. Clark
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Paul R. Perkins
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Peter S. Smith
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Robert J. Erickson
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                    Alan Burch
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

                                                    Ethan Price Davis
                                                    (See above for address)
                                                    TERMINATED: 07/03/2020

                                                    Jean Lin
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED


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     Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 16 of 104


                                                      Jonathan D. Kossak
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
JOHN DOES                                 represented by Cristen Cori Handley
I−V, Individually and in their official                  (See above for address)
capacities 05cv2337; 12cv00782 I−X                       LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Denise M. Clark
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Paul R. Perkins
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Alan Burch
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Ethan Price Davis
                                                      (See above for address)
                                                      TERMINATED: 07/03/2020

                                                      Jean Lin
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                                      Jonathan D. Kossak
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Defendant
THOMAS WEBSTER                            represented by Cristen Cori Handley
M.D.− Clinical Director;                                 (See above for address)
05cv2337;12cv782; 13cv938                                LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                      Denise M. Clark
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Jean Lin
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED


                                                                                   16
    Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 17 of 104




                                                        Paul R. Perkins
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Alan Burch
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Ethan Price Davis
                                                        (See above for address)
                                                        TERMINATED: 07/03/2020

                                                        Jonathan D. Kossak
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
ERIC H. HOLDER, JR.                         represented by Cristen Cori Handley
Attorney General for the United States of                  (See above for address)
America; 05cv2337; 12cv782;13cv938                         LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                        Denise M. Clark
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Paul F. Enzinna
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Paul R. Perkins
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Alan Burch
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Ethan Price Davis
                                                        (See above for address)
                                                        TERMINATED: 07/03/2020

                                                        Jean Lin
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Jonathan D. Kossak

                                                                                     17
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                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
MICHAEL B. MUKASEY                represented by Cristen Cori Handley
07−cv−02145−TSC                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

                                              Jean Lin
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
KAREN TANDY                       represented by Cristen Cori Handley
07−cv−02145−TSC                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED



                                                                           18
     Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 19 of 104


                                                          Alan Burch
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Ethan Price Davis
                                                          (See above for address)
                                                          TERMINATED: 07/03/2020

                                                          Jean Lin
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Jonathan D. Kossak
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
ALAN R. DOERHOFF                           represented by Cristen Cori Handley
07−cv−02145−TSC                                           (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Denise M. Clark
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Paul R. Perkins
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                          Alan Burch
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Ethan Price Davis
                                                          (See above for address)
                                                          TERMINATED: 07/03/2020

                                                          Jean Lin
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Jonathan D. Kossak
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
JOHN DOES                                  represented by Cristen Cori Handley
I−IV, Individually and in their official                  (See above for address)


                                                                                    19
    Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 20 of 104


capacities; 07−cv−02145−TSC                    LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                               Denise M. Clark
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                               Paul R. Perkins
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                               Alan Burch
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Ethan Price Davis
                                               (See above for address)
                                               TERMINATED: 07/03/2020

                                               Jean Lin
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Jonathan D. Kossak
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

Defendant
MICHELE LEONHART                   represented by Cristen Cori Handley
07−cv−02145; 12cv782; 13cv938                     (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                               Denise M. Clark
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                               Paul R. Perkins
                                               (See above for address)
                                               LEAD ATTORNEY
                                               ATTORNEY TO BE NOTICED

                                               Alan Burch
                                               (See above for address)
                                               ATTORNEY TO BE NOTICED

                                               Ethan Price Davis
                                               (See above for address)
                                               TERMINATED: 07/03/2020

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                                              Jean Lin
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
CHARLES E. SAMUELS, JR.           represented by Cristen Cori Handley
07−cv−02145; 12−cv−00782                         (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

                                              Jean Lin
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
JOHN F. CARAWAY                   represented by Cristen Cori Handley
07cv2145; 13cv938                                (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED


                                                                           21
   Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 22 of 104




                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

                                              Jean Lin
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
UNITED STATES DEPARTMENT          represented by Cristen Cori Handley
OF JUSTICE                                       (See above for address)
12cv782; 13cv938                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

                                              Jean Lin
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)

                                                                           22
   Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 23 of 104


                                              ATTORNEY TO BE NOTICED

Defendant
PAUL LAIRD                        represented by Cristen Cori Handley
12−cv−00782                                      (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

                                              Jean Lin
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
KERRY J. FORESTAL                 represented by Cristen Cori Handley
12cv782;13cv938                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch


                                                                           23
   Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 24 of 104


                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

                                              Jean Lin
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
CHARLES L. LOCKETT                represented by Cristen Cori Handley
12−cv−00782                                      (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                              Denise M. Clark
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Paul R. Perkins
                                              (See above for address)
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED

                                              Alan Burch
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Ethan Price Davis
                                              (See above for address)
                                              TERMINATED: 07/03/2020

                                              Jean Lin
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

                                              Jonathan D. Kossak
                                              (See above for address)
                                              ATTORNEY TO BE NOTICED

Defendant
CHADRICK EVAN FULKS               represented by Amy Gershenfeld Donnella
13cv938                                          FEDERAL COMMUNITY DEFENDER
                                                 OFFICE FOR THE EDPA


                                                                              24
Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 25 of 104


                                           601 Walnut Street
                                           Suite 545W
                                           Philadelphia, PA 19106
                                           (215) 928−0520
                                           Email: amy_donnella@fd.org
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Billy H. Nolas
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Cristen Cori Handley
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Joseph William Luby
                                           FEDERAL PUBLIC DEFENDER/EDPA
                                           601 Walnut Street
                                           Suite 545 West
                                           Philadelphia, PA 19106
                                           (215) 928−0520
                                           Email: joseph_luby@fd.org
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Paul R. Perkins
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Shawn Nolan
                                           (See above for address)
                                           LEAD ATTORNEY
                                           ATTORNEY TO BE NOTICED

                                           Alan Burch
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Ethan Price Davis
                                           (See above for address)
                                           TERMINATED: 07/03/2020

                                           Jean Lin
                                           (See above for address)
                                           ATTORNEY TO BE NOTICED

                                           Jonathan D. Kossak
                                           (See above for address)


                                                                          25
   Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 26 of 104


                                                 ATTORNEY TO BE NOTICED

Defendant
WILLIAM P. BARR                   represented by Cristen Cori Handley
19−cv−03214−TSC                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Paul R. Perkins
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Alan Burch
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
JEFFREY E. KRUEGER                represented by Cristen Cori Handley
19−cv−03214−TSC                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Paul R. Perkins
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Alan Burch
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
JOSEPH MCCLAIN                    represented by Cristen Cori Handley
19−cv−03214−TSC                                  (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Paul R. Perkins
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Alan Burch
                                                 (See above for address)
                                                 ATTORNEY TO BE NOTICED

Defendant
RADM CHRIS A. BINA                represented by Cristen Cori Handley
19−cv−03214−TSC                                  (See above for address)


                                                                           26
     Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 27 of 104


                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Paul R. Perkins
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Alan Burch
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
T. J. WATSON                           represented by Cristen Cori Handley
19−cv−03214−TSC                                       (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                        Paul R. Perkins
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Alan Burch
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
UTTAM DHILLON                          represented by Cristen Cori Handley
19cv3520; Acting Administrator, U.S.                  (See above for address)
Drug Enforcement Administration                       LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Defendant
NICOLE ENGLISH                         represented by Cristen Cori Handley
19cv3520; Acting Assistant Director,                  (See above for address)
Health Services, Federal Bureau of                    LEAD ATTORNEY
Prisons                                               ATTORNEY TO BE NOTICED


V.
Debtor−in−Possess
WILLIAM E. WILSON
M.D.,; 19−cv−03214−TSC


V.
Intervenor Defendant
                                       represented by

                                                                                  27
    Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 28 of 104


RICHARD VEACH                                                 Denise M. Clark
Warden, U.S. Penitentiary Terre Haute                         (See above for address)
(05cv2337); 07cv02145                                         LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Intervenor
JEFFREY PAUL                                   represented by Gary E. Proctor
(05cv2337)                                                    LAW OFFICES OF GARY E. PROCTOR,
                                                              LLC
                                                              8 E. Mulberry Street
                                                              Baltimore, MD 21202
                                                              (410) 444−1500
                                                              Fax: (443) 836−9162
                                                              Email: garyeproctor@gmail.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Robert L. McGlasson
                                                              MCGLASSON & ASSOCIATES, PC
                                                              1024 Clairemont Avenue
                                                              Decatur, GA 30030
                                                              (404) 314−7664
                                                              Fax: (404) 879−0005
                                                              Email: rlmcglasson@comcast.net
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Sean D. O'Brien
                                                              PUBLIC INTEREST LITIGATION
                                                              CLINIC
                                                              6155 Oak
                                                              Suite C
                                                              Kansas City, MO 64113
                                                              (816) 363−2795
                                                              Fax: (816) 363−2799
                                                              Email: dplc@dplclinic.com
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Shawn Nolan
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED


 Date Filed     #   Page Docket Text
 08/15/2019                Minute Entry: Status Conference held on 8/15/2019 before Judge Tanya S.
                           Chutkan: Parties will adhere to the following schedule: Defendants shall file
                           the administrative record on or before August 30, 2019; Plaintiffs shall
                           complete the necessary 30(b)(6) depositions on or before February 28, 2020;
                           and Plaintiffs shall file an amended complaint on or before March 31, 2020.
                           Order forthcoming regarding consolidation of 05−2337; 07−2145; 12−782; and


                                                                                                           28
   Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 29 of 104



                    13−958. (Court Reporter Bryan Wayne) (tb) Modified on 8/19/2019 (lctsc1).
                    (Entered: 08/16/2019)− (Entry originally filed in 05cv2337 on 08/15/19.)
                    (Entered: 08/29/2019)
08/20/2019   1      ORDER: Upon consideration of the parties consent motions and the
                    representations made by the parties at the August 15, 2019 status conference,
                    the court hereby consolidates the four mention cases in the case caption of this
                    order, pursuant to Federal Rule of Civil Procedure 42(a). It is therefore
                    ORDERED that the following cases are to be consolidated into A Master Case
                    File established for the lead case, 05−cv−2337 (TSC), as well as 07−cv−2145
                    (TSC), 12−cv−0782 (TSC), and 13−cv−0938 (TSC). All filings shall be made
                    solely in the Master Case. SEE ORDER FOR DETAILS. Signed by Judge
                    Tanya S. Chutkan on 8/20/19. (ztd) (Main Document 1 replaced on 8/29/2019)
                    (tb). Modified on 8/29/2019 (DJS). (Entered: 08/27/2019)
08/29/2019   2      MOTION for Preliminary Injunction by ALFRED BOURGEOIS
                    (Attachments: # 1 Statement of Facts, # 2 Text of Proposed Order)(ztd);
                    (Document originally filed in 12cv782 on 8/19/19) (Entered: 08/29/2019)
08/29/2019   3      MOTION for Extension of Time to File Response/Reply by ERIC H.
                    HOLDER, JR, NEWTON E. KENDIG, II, HARLEY G. LAPPIN, MICHAEL
                    B. MUKASEY (Attachments: # 1 Text of Proposed Order)(ztd); (Document
                    originally filed in 05cv2337.) (Entered: 08/29/2019)
08/29/2019          MINUTE ORDER: Defendants' consent motion 3 for an extension of time to
                    file a response to Plaintiff Alfred Bourgeois' (12−cv−00782) motion 2 for a
                    preliminary injunction barring the execution of Plaintiff Bourgeois is
                    GRANTED. Defendants shall file their response on or before September 16,
                    2019. Plaintiff's reply is due within one week of Defendants' response or
                    September 23, 2019, whichever date is earlier. Signed by Judge Tanya S.
                    Chutkan on 8/29/2019. (lctsc1) (Entered: 08/29/2019)
08/30/2019   4      NOTICE of Filing Certification of the Administrative Record and the Index of
                    the Administrative Record by UNITED STATES DEPARTMENT OF
                    JUSTICE (Attachments: # 1 Certified List of the Contents of the
                    Administrative Records)Associated Cases: 1:19−mc−00145−TSC,
                    1:05−cv−02337−TSC, 1:07−cv−02145−TSC, 1:12−cv−00782−TSC,
                    1:13−cv−00938−TSC(Clark, Denise) (Entered: 08/30/2019)
09/04/2019          Set/Reset Deadlines: Response due by 9/16/2019. Reply due by 9/23/2019.
                    Associated Cases: 1:19−mc−00145−TSC, 1:05−cv−02337−TSC,
                    1:07−cv−02145−TSC, 1:12−cv−00782−TSC, 1:13−cv−00938−TSC(tb)
                    (Entered: 09/04/2019)
09/05/2019   5      NOTICE of Appearance by Jean Lin on behalf of All Defendants (Lin, Jean)
                    (Entered: 09/05/2019)
09/05/2019   6      Memorandum in opposition to re 2 MOTION for Preliminary Injunction (This
                    Document Relates to Bourgeois v. Department of Justice, No. 12−0782 filed by
                    KERRY J. FORESTAL, ERIC H. HOLDER, JR, PAUL LAIRD, MICHELE
                    LEONHART, CHARLES L. LOCKETT, MICHAEL B. MUKASEY,
                    CHARLES E. SAMUELS, JR, UNITED STATES DEPARTMENT OF
                    JUSTICE, THOMAS WEBSTER. (Lin, Jean) (Entered: 09/05/2019)
09/05/2019   7


                                                                                                       29
   Case 1:19-mc-00145-TSC Document 138 Filed 07/13/20 Page 30 of 104



                    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Pieter Van Tol,
                    :Firm− Hogan Lovells US LLP, :Address− 390 Madison Avenue New York,
                    NY 10017. Phone No. − (212) 918−3000. Fax No. − (212) 918−3100 Filing fee
                    $ 100, receipt number 0090−6360193. Fee Status: Fee Paid. by DANIEL
                    LEWIS LEE (Attachments: # 1 Declaration of Pieter Van Tol, # 2 Text of
                    Proposed Order, # 3 Certificate of Service)(Hagerty, Elizabeth) (Entered:
                    09/05/2019)
09/05/2019    8     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− John D. Beck,
                    :Firm− Hogan Lovells US LLP, :Address− 390 Madison Avenue New York,
                    NY 10017. Phone No. − (212) 918−3000. Fax No. − (212) 918−3100 Filing fee
                    $ 100, receipt number 0090−6360222. Fee Status: Fee Paid. by DANIEL
                    LEWIS LEE (Attachments: # 1 Declaration of John D. Beck, # 2 Text of
                    Proposed Order, # 3 Certificate of Service)(Hagerty, Elizabeth) (Entered:
                    09/05/2019)
09/06/2019          MINUTE ORDER: THIS ORDER RELATES TO LEE (19cv2559). Granting 7
                    8 Motions for Leave to Appear Pro Hac Vice. Pieter Van Tol and John D. Beck
                    are hereby admitted pro hac vice to appear in this matter on behalf of Plaintiff
                    Daniel Lee. Signed by Judge Tanya S. Chutkan on 9/6/19. (DJS) (Entered:
                    09/06/2019)
09/06/2019          MINUTE ORDER: THIS ORDER RELATES TO ALL CASES. The parties
                    are hereby reminded that, pursuant to the cour's Consolidation Order (ECF No.
                    1 ), when a filing is made that applies solely to ONE CASE, both the document
                    and THE ECF ENTRY must contain a notation indicating that the filing
                    Relates to [insert case NAME and NUMBER]. Documents that do not meet the
                    requirements in the court's order may be STRICKEN sua sponte. Signed by
                    Judge Tanya S. Chutkan on 9/6/19. (DJS) (Entered: 09/06/2019)
09/10/2019    9     NOTICE of Appearance by David Solomon Victorson on behalf of DANIEL
                    LEWIS LEE (Victorson, David) (Entered: 09/10/2019)
09/11/2019   10     RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed
                    as to the United States Attorney. Date of Service Upon United States Attorney
                    on 9/11/2019. Answer due for ALL FEDERAL DEFENDANTS by
                    11/10/2019. (Hagerty, Elizabeth) (Entered: 09/11/2019)
09/12/2019   11     REPLY to opposition to motion re (2 in 1:19−mc−00145−TSC) MOTION for
                    Preliminary Injunction (The filing relates to Bourgeois v. United States
                    Department of Justice, et al., No. 12−cv−0782−TSC) filed by ALFRED
                    BOURGEOIS. Associated Cases: 1:19−mc−00145−TSC et al.(Kursman,
                    Alexander) (Entered: 09/12/2019)
09/13/2019          MINUTE ORDER: The Court's 8/15/19 Order requiring that the Defendants
                    file the administrative "record" by 8/30/19, is hereby AMENDED to reflect
                    that, pursuant to Local Civil Rule 7(n), Defendants were obligated to file "a
                    certified list of the contents of the administrative record" by 8/30/19. Signed by
                    Judge Tanya S. Chutkan on 9/13/19. (DJS) (Entered: 09/13/2019)
09/13/2019   12     TRANSCRIPT OF STATUS HEARING before Judge Tanya S. Chutkan held
                    on August 15, 2019, re Consolidated Cases, CV Nos. 05−2337, 07−2145,
                    12−0782, 13−0938. Page Numbers: 1−22. Date of Issuance: 9/13/19. Court
                    Reporter: Bryan A. Wayne. Transcripts may be ordered by submitting the
                    Transcript Order Form

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                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have
                    twenty−one days to file with the court and the court reporter any request to
                    redact personal identifiers from this transcript. If no such requests are filed, the
                    transcript will be made available to the public via PACER without redaction
                    after 90 days. The policy, which includes the five personal identifiers
                    specifically covered, is located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 10/4/2019. Redacted Transcript Deadline set for
                    10/14/2019. Release of Transcript Restriction set for 12/12/2019.(Wayne,
                    Bryan) (Entered: 09/13/2019)
09/27/2019   13     MOTION for Preliminary Injunction (This filing relates to Lee v. Barr et al.,
                    Case No. 19−cv−02559−TSC) by DANIEL LEWIS LEE (Attachments: # 1
                    Memorandum in Support, # 2 Declaration of Pieter Van Tol, # 3 Exhibit 1 −
                    True and correct copy of a document entitled Addendum to BOP Execution
                    Protocol Federal Death Sentence Implementation Procedures Effective July 25,
                    2019., # 4 Text of Proposed Order)(Van Tol, Pieter) (Entered: 09/27/2019)
10/01/2019   14     Joint MOTION for Briefing Schedule as to 13 MOTION for Preliminary
                    Injunction (This filing relates to Lee v. Barr et al., Case No.
                    19−cv−02559−TSC) (This document relates to Lee v. Barr,19−cv−2559) by
                    UNITED STATES DEPARTMENT OF JUSTICE (Attachments: # 1 Text of
                    Proposed Order)(Lin, Jean) Modified event title on 10/3/2019 (znmw).
                    (Entered: 10/01/2019)
10/01/2019          MINUTE ORDER: The parties' joint motion 14 for an extension of time to file
                    a response and reply to Plaintiff Daniel Lee's (19−cv−02559) motion 13 for a
                    preliminary injunction barring implementation of the new federal lethal
                    injunction protocol is GRANTED. Defendants shall file their response on or
                    before October 18, 2019. Plaintiff's reply is due on or before November 1,
                    2019. Signed by Judge Tanya S. Chutkan on 10/1/2019. (lctsc1) (Entered:
                    10/01/2019)
10/01/2019          Set/Reset Deadlines: Defendants' Response due by 10/18/2019. Plaintiff's
                    Reply due by 11/1/2019. (zjd) (Entered: 10/03/2019)
10/02/2019   15     NOTICE of Appearance by Amy J. Lentz on behalf of ORLANDO HALL
                    (Lentz, Amy) (Main Document 15 replaced on 10/2/2019) (ztd). (Entered:
                    10/02/2019)
10/18/2019   16     Memorandum in opposition to re 13 MOTION for Preliminary Injunction (This
                    filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) (This
                    document relates to Lee v. Barr,19−cv−2559) filed by MARK BEZY, JOHN
                    F. CARAWAY, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and
                    in their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V,
                    Individually and in their official capacities 05cv2337; 12cv00782 I−X),
                    KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE

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                    LEONHART, CHARLES L. LOCKETT, MICHAEL B. MUKASEY,
                    CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator, Drug
                    Enforcement Administration (05cv2337)), UNITED STATES DEPARTMENT
                    OF JUSTICE, THOMAS WEBSTER. (Lin, Jean) (Entered: 10/18/2019)
10/24/2019   17     ENTERED IN ERROR.....NOTICE of Supplementation to the Administrative
                    Record and Filing of Certification of the Amended Administrative Record and
                    the Amended Index of the Administrative Record by MARK BEZY, JOHN F.
                    CARAWAY, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in
                    their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually
                    and in their official capacities 05cv2337; 12cv00782 I−X), KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, MICHAEL B. MUKASEY, KAREN
                    TANDY(Administrator, Drug Enforcement Administration (05cv2337)),
                    KAREN TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT
                    OF JUSTICE, THOMAS WEBSTER re 4 Notice (Other), (Attachments: # 1
                    Certification and Amended Index to Administrative Record)(Kossak, Jonathan)
                    Modified on 10/25/2019 (zjf). (Entered: 10/24/2019)
10/24/2019   18     MOTION for Leave to File supplemental briefing in support of Daniel Lewis
                    Lee's Motion for Preliminary Injunction 13 (This filing relates to Lee v. Barr et
                    al., Case No. 19−cv−02559−TSC), MOTION for Leave to File Excess Pages
                    for a reply brief by DANIEL LEWIS LEE (Attachments: # 1 Declaration of
                    Pieter Van Tol, # 2 Exhibit 1 − Transcript for August 15, 2019 Hearing before
                    Court, # 3 Exhibit 2 − E−mail exchange between P. Van Tol and counsel for
                    Defendants, October 2, 2019, # 4 Exhibit 3 − E−mail exchange between
                    counsel for Defendants and P. Enzinna, September 25, 2019 and October 1,
                    2019, # 5 Exhibit 4 − E−mail exchange between P. Van Tol and counsel for
                    Defendants, October 7, 2019 to October 23, 2019, # 6 Text of Proposed
                    Order)(Van Tol, Pieter) (Entered: 10/24/2019)
10/25/2019   19     RESPONSE re 18 MOTION for Leave to File supplemental briefing in support
                    of Daniel Lewis Lee's Motion for Preliminary Injunction 13 (This filing relates
                    to Lee v. Barr et al., Case No. 19−cv−02559−TSC) MOTION for Leave to File
                    Excess Pages for a reply brief filed by UNITED STATES DEPARTMENT OF
                    JUSTICE. (Clark, Denise) (Entered: 10/25/2019)
10/25/2019          NOTICE OF CORRECTED DOCKET ENTRY: Document No. re 17 Notice
                    (Other) was entered in error at the request of counsel and will be refiled.(jf)
                    (Entered: 10/25/2019)
10/25/2019   20     NOTICE (Corrected) of Supplementation to the Administrative Record and
                    Filing of Certification of the Amended Administrative Record and the Amended
                    Index of the Administrative Record (This filing relates to all cases consolidated
                    in In the Matter of the Federal Bureau of Prisons' Execution Protocol Cases,
                    Case No. 19−mc−145) by MARK BEZY, JOHN F. CARAWAY, ALAN R.
                    DOERHOFF, JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), JOHN DOES(I−V, Individually and in their official
                    capacities 05cv2337; 12cv00782 I−X), KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, ERIC H. HOLDER, JR, NEWTON E. KENDIG, II, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, MICHAEL B. MUKASEY, CHARLES E. SAMUELS, JR,


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                    KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, THOMAS WEBSTER re 4 Notice (Other),
                    (Attachments: # 1 Certification and Amended Index to Administrative
                    Record)(Kossak, Jonathan) (Entered: 10/25/2019)
10/29/2019   21     NOTICE of Appearance by Jonathan D. Kossak on behalf of All Defendants
                    (Kossak, Jonathan) (Entered: 10/29/2019)
11/01/2019          MINUTE ORDER granting, in part, and denying, in part, 18 Motion to Allow
                    Supplemental Briefing and to Extend Page Limit. Granting with respect to page
                    extension and denying without prejudice until further order of the Court with
                    respect to supplemental briefing. Signed by Judge Tanya S. Chutkan on
                    11/1/19. (lcdl) (Entered: 11/01/2019)
11/01/2019   22     REPLY to opposition to motion re 13 MOTION for Preliminary Injunction
                    (This filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) (This
                    filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) filed by
                    DANIEL LEWIS LEE. (Van Tol, Pieter) (Entered: 11/01/2019)
11/01/2019   23     DECLARATION of Pieter Van Tol to 22 . . . .REPLY to opposition to motion
                    re 13 MOTION for Preliminary Injunction (This filing relates to Lee v. Barr et
                    al., Case No. 19−cv−02559−TSC) Reply Declaration of Pieter Van Tol (This
                    filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) filed by
                    DANIEL LEWIS LEE. (Attachments: # 1 Exhibit A − Appellants Petition for
                    En Banc Rehearing Death Penalty Case, May 14, 2020, # 2 Exhibit B −E−mail
                    exchange between me and counsel for the Defendants between the period of
                    October 7, 2019 and October 23, 2019, # 3 Exhibit C − Transcript for the
                    conference before the Court on August 15, 2019)(Van Tol, Pieter) Modified
                    text on 11/4/2019 (ztd). (Entered: 11/01/2019)
11/01/2019   24     DECLARATION of Gail A. Van Norman, M.D. to 22 . . . . . REPLY to
                    opposition to motion re 13 MOTION for Preliminary Injunction (This filing
                    relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) Expert Declaration
                    of Gail A. Van (This filing relates to Lee v. Barr et al., Case No.
                    19−cv−02559−TSC) Norman, M.D. filed by DANIEL LEWIS LEE. (Van Tol,
                    Pieter) Modified text on 11/4/2019 (ztd). (Entered: 11/01/2019)
11/01/2019   25     DECLARATION of Craig W. Stevens, Ph.D. to 22 . . . . .REPLY to opposition
                    to motion re 13 MOTION for Preliminary Injunction (This filing relates to Lee
                    v. Barr et al., Case No. 19−cv−02559−TSC) Expert Declaration of Craig W.
                    Stevens Ph.D. (This filing relates to Lee v. Barr et al., Case No.
                    19−cv−02559−TSC) filed by DANIEL LEWIS LEE. (Van Tol, Pieter)
                    Modified text on 11/4/2019 (ztd). (Entered: 11/01/2019)
11/01/2019   26     Unopposed MOTION to Intervene by DUSTIN LEE HONKEN (Attachments:
                    # 1 Exhibit Complaint, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                    Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit, # 10 Exhibit, # 11 Exhibit, # 12
                    Exhibit, # 13 Exhibit, # 14 Exhibit, # 15 Exhibit)Associated Cases:
                    1:19−mc−00145−TSC et al.(Schmidt, Amelia) (Entered: 11/01/2019)
11/04/2019   27     MOTION for Extension of Time to Respond to Complaint by UNITED
                    STATES DEPARTMENT OF JUSTICE (Clark, Denise) Modified on
                    11/5/2019 (ztd). (Entered: 11/04/2019)


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11/05/2019   28     NOTICE of Appearance by Jonathan Jeffress on behalf of DUSTIN LEE
                    HONKEN (Jeffress, Jonathan) (Entered: 11/05/2019)
11/05/2019   29     MOTION for Preliminary Injunction by DUSTIN LEE HONKEN
                    (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                    Exhibit)(Jeffress, Jonathan) (Entered: 11/05/2019)
11/05/2019          NOTICE OF ERROR re 28 Notice of Appearance; emailed to
                    jjeffress@kaiserdillon.com, cc'd 64 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Counsel must call Attorney Admissions, (202)
                    354−3110, regarding status. (ztd, ) (Entered: 11/05/2019)
11/05/2019   30     RESPONSE re 27 MOTION for Extension of Time to File Response/Reply
                    (This filing relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) filed by
                    DANIEL LEWIS LEE. (Van Tol, Pieter) (Entered: 11/05/2019)
11/05/2019   31     Consent MOTION for Extension of Time to Respond to Proposed
                    Plaintiff/Intervenor Honken's Motion for Preliminary Injunction (This filing
                    relates to Lee v. Barr et al., Case No. 19−cv−02559−TSC) by MARK BEZY,
                    JOHN F. CARAWAY, ALAN R. DOERHOFF, JOHN DOES(I−IV,
                    Individually and in their official capacities; 07−cv−02145−TSC), JOHN
                    DOES(I−V, Individually and in their official capacities 05cv2337; 12cv00782
                    I−X), KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H.
                    HOLDER, JR, NEWTON E. KENDIG, II, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, MICHAEL B.
                    MUKASEY, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, THOMAS WEBSTER (Attachments: # 1 Text of Proposed
                    Order)(Kossak, Jonathan) (Entered: 11/05/2019)
11/06/2019   32     MOTION for Leave to File the expert declarations of Gail A. Norman, M.D.
                    and Craig W. Stevens, Ph.D. (This filing relates to Lee v. Barr et al., Case No.
                    19−cv−02559−TSC) by DANIEL LEWIS LEE (Attachments: # 1 Text of
                    Proposed Order)(Van Tol, Pieter) (Entered: 11/06/2019)
11/07/2019   33     Joint MOTION for Hearing (This filing relates to All Cases) by DANIEL
                    LEWIS LEE (Van Tol, Pieter) (Entered: 11/07/2019)
11/07/2019          MINUTE ORDER denying 33 the parties' motion for a hearing without
                    prejudice until further order of the Court. The Court intends to issue a ruling
                    and/or hold a hearing no later than November 20, 2019. Signed by Judge Tanya
                    S. Chutkan on November 7, 2019. (tsclc2) (Entered: 11/07/2019)
11/08/2019          MINUTE ORDER: Granting 26 Dustin Lee Honkin's Unopposed Motion to
                    Intervene, pursuant to Federal Rule of Civil Procedure 24(b). Denying 31
                    Consent Motion for Extension of Time to respond to Dustin Lee Honkin's
                    Motion for Preliminary Judgment. Defendant shall file its response by
                    November 12, 2019 at 5pm. Plaintiff's reply brief shall be filed by November
                    18, 2019 at 12 p.m. The Court will view motions for extension with extreme
                    disfavor. Granting 27 Defendant's Motion for Extension of Time to Respond to
                    Daniel Lewis Lee's Complaint. Defendant's response to the Complaint shall be
                    filed no later than April 30, 2020 at 12 p.m.. Signed by Judge Tanya S.
                    Chutkan on 11/8/2019. (tsclc2) (Entered: 11/08/2019)


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11/08/2019          Set/Reset Deadlines/Hearings: Answer due by 4/30/2020. Response due by
                    11/12/2019. Reply due by 11/18/2019. (tb) (Entered: 11/08/2019)
11/08/2019   34     MOTION for Preliminary Injunction Barring the Implementation of the Newly
                    Announced Federal Lethal Injection Protocol, by WESLEY IRA PURKEY
                    (Attachments: # 1 Text of Proposed Order)(Smith, Arin) (Entered: 11/08/2019)
11/08/2019   38     Intervenor COMPLAINT filed by DUSTIN LEE HONKEN. (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit
                    6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11,
                    # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14)(ztd) (Entered: 11/13/2019)
11/12/2019   35     NOTICE of Appearance by Ethan Price Davis on behalf of All Defendants
                    (Attachments: # 1 Certificate of Service)(Davis, Ethan) (Entered: 11/12/2019)
11/12/2019   36     RESPONSE re 29 MOTION for Preliminary Injunction (This document relates
                    to Lee v. Barr,19−cv−2559, re Intervenor Plaintiff Honken) filed by UNITED
                    STATES DEPARTMENT OF JUSTICE. (Attachments: # 1 Declaration of
                    Raul Campos)(Lin, Jean) (Entered: 11/12/2019)
11/12/2019   37     Memorandum in opposition to re 34 MOTION for Preliminary Injunction
                    Barring the Implementation of the Newly Announced Federal Lethal Injection
                    Protocol, (This document relates to Purkey v. Barr, 19−cv−03214) filed by
                    UNITED STATES DEPARTMENT OF JUSTICE. (Lin, Jean) (Entered:
                    11/12/2019)
11/12/2019          MINUTE ORDER: Defendant shall file the administrative record in its entirety
                    no later than November 14, 2019 at 5pm. Given this order, parties need not
                    jointly prepare the appendix referred to in Local Civil Rule 7(n)(1),(2). Signed
                    by Judge Tanya S. Chutkan on 11/12/19. (tsclc2) (Entered: 11/12/2019)
11/13/2019          MINUTE ORDER: This order relates to 19cv3214 (Wesley Purkey).
                    GRANTING Motions for Admission Pro Hac Vice filed in 19cv3214−TSC at
                    ECF Nos. 3 and 4 Alan E. Schoenfeld and Ryan M. Chabot are hereby
                    admitted pro hac vice in this matter on behalf of Wesley Purkey. Signed by
                    Judge Tanya S. Chutkan on 11/13/19. (DJS) Modified on 11/13/2019 (tb).
                    Modified on 11/13/2019 (tb). (Entered: 11/13/2019)
11/13/2019          MINUTE ORDER: Counsel are hereby reminded that pursuant to Paragraph 8
                    of this court's Consolidation Order 1 , when a document is filed that relates to
                    one or more, but not all consolidated cases, the relevant case name(s) and
                    CASE NUMBER(S) must appear in the caption of the document AND on the
                    CM/ECF ENTRY (e.g., This document relates to LEE HONKEN
                    19−cv−2559). Signed by Judge Tanya S. Chutkan on 11/13/19. (DJS) (Entered:
                    11/13/2019)
11/13/2019   39     NOTICE of Filing of the Amended Administrative Record (this filing relates to
                    All Cases) by UNITED STATES DEPARTMENT OF JUSTICE (Attachments:
                    # 1 Amended Administrative Record)(Kossak, Jonathan) (Entered: 11/13/2019)
11/13/2019   40     NOTICE of Appearance− Pro Bono by Charles Frederick Walker on behalf of
                    CORY JOHNSON (Walker, Charles) (Entered: 11/13/2019)
11/13/2019   41     NOTICE of Appearance− Pro Bono by Steven M Albertson on behalf of
                    CORY JOHNSON (Albertson, Steven) (Entered: 11/13/2019)


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11/14/2019          Set/Reset Deadlines: Administrative Record due by 11/14/2019. (tb) (Entered:
                    11/14/2019)
11/14/2019   42     NOTICE of Appearance by Alan Burch on behalf of All Defendants (Burch,
                    Alan) (Entered: 11/14/2019)
11/14/2019   43     NOTICE of Appearance by Paul Perkins on behalf of All Defendants (Perkins,
                    Paul) (Entered: 11/14/2019)
11/18/2019   44     REPLY to opposition to motion re (29 in 1:19−mc−00145−TSC) MOTION for
                    Preliminary Injunction filed by DUSTIN LEE HONKEN. (Attachments: # 1
                    Exhibit)Associated Cases: 1:19−mc−00145−TSC,
                    1:19−cv−02559−TSC(Jeffress, Jonathan) (Entered: 11/18/2019)
11/18/2019   45     SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                    filed by DUSTIN LEE HONKEN (This document is SEALED and only
                    available to authorized persons.) (Attachments: # 1 Exhibit Reply to
                    Opposition, # 2 Exhibit Exhibit 1)(Jeffress, Jonathan) (Entered: 11/18/2019)
11/18/2019   46     SEALED MOTION filed by WESLEY IRA PURKEY (Attachments: # 1
                    Exhibit 1, # 2 Exhibit 2, # 3 Text of Proposed Order)(Smith, Arin) (Entered:
                    11/18/2019)
11/18/2019   47     REPLY to opposition to motion re 34 MOTION for Preliminary Injunction
                    Barring the Implementation of the Newly Announced Federal Lethal Injection
                    Protocol, (This document relates to Purkey v. Barr, 19−cv−03214) filed by
                    WESLEY IRA PURKEY. (Attachments: # 1 Exhibit 1)(Smith, Arin) Modified
                    text on 11/18/2019 at the request of counsel (ztth). (Entered: 11/18/2019)
11/18/2019          MINUTE ORDER: Granting DUSTIN LEE HONKEN's 45 Sealed Motion for
                    Leave to File Document Under Seal and WESLEY IRA PURKEY's 46 Sealed
                    Motion for leave to File Document Under Seal. SO ORDERED − by Judge
                    Tanya S. Chutkan on 11/18/19. (tb) (Entered: 11/18/2019)
11/18/2019   48     SEALED REPLY TO OPPOSITION filed by DUSTIN LEE HONKEN re 29
                    MOTION for Preliminary Injunction (This document is SEALED and only
                    available to authorized persons.) (Attachments: # 1 Exhibit)(ztd) (Entered:
                    11/19/2019)
11/18/2019   49     SEALED REPLY TO OPPOSITION filed by WESLEY IRA PURKEY re 34
                    MOTION for Preliminary Injunction Barring the Implementation of the Newly
                    Announced Federal Lethal Injection Protocol, (This document is SEALED and
                    only available to authorized persons.) (Attachments: # 1 Exhibit)(ztd) (Entered:
                    11/19/2019)
11/20/2019   50     MEMORANDUM AND OPINION regarding Plaintiffs' motions 2 13 29 34 for
                    preliminary injunction. Signed by Judge Tanya S. Chutkan on 11/20/2019.
                    (tsclc) (Entered: 11/20/2019)
11/20/2019   51     ORDER granting 2 Motion for Preliminary Injunction; granting 13 Motion for
                    Preliminary Injunction; granting 29 Motion for Preliminary Injunction;
                    granting 34 Motion for Preliminary Injunction. Defendants are hereby enjoined
                    from executing Plaintiffs until further order of this court. See Order for
                    additional details. Signed by Judge Tanya S. Chutkan on 11/20/2019. (tsclc)
                    (Entered: 11/20/2019)


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11/20/2019   56     SEALED DOCUMENT filed by WILLIAM P. BARR, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, ALAN R. DOERHOFF, JOHN
                    DOES(I−IV, Individually and in their official capacities; 07−cv−02145−TSC),
                    JOHN DOES(I−V, Individually and in their official capacities 05cv2337;
                    12cv00782 I−X), KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC
                    H. HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED
                    STATES DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS
                    WEBSTER. (This document is SEALED and only available to authorized
                    persons.)(ztd) (Entered: 11/21/2019)
11/21/2019   52     NOTICE OF APPEAL TO DC CIRCUIT COURT as to 51 Order on Motion
                    for Preliminary Injunction,,,,,,, 50 Order by UNITED STATES
                    DEPARTMENT OF JUSTICE. Fee Status: No Fee Paid. Parties have been
                    notified. (Attachments: # 1 November 20, 2019 Order, # 2 November 20, 2019
                    Memorandum Opinion)(Lin, Jean) (Entered: 11/21/2019)
11/21/2019   53     MOTION to Stay Preliminary Injunction Pending Appeal (This document
                    relates to Bourgeois v. Dep't of Justice, 12−cv−782, Lee v. Barr, 19−cv−2559,
                    and Purkey v. Barr, 19−cv−3214) by UNITED STATES DEPARTMENT OF
                    JUSTICE (Attachments: # 1 Text of Proposed Order)(Lin, Jean) (Entered:
                    11/21/2019)
11/21/2019   54     AFFIDAVIT re 53 MOTION to Stay Preliminary Injunction Pending Appeal
                    (This document relates to Bourgeois v. Dep't of Justice, 12−cv−782, Lee v.
                    Barr, 19−cv−2559, and Purkey v. Barr, 19−cv−3214) (Declaration of Rick
                    Winter) by UNITED STATES DEPARTMENT OF JUSTICE. (Lin, Jean)
                    (Entered: 11/21/2019)
11/21/2019   55     Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The Court of Appeals
                    docketing fee was not paid because the appeal was filed by the government re
                    52 Notice of Appeal to DC Circuit Court,. (ztd) (Entered: 11/21/2019)
11/22/2019   57     RESPONSE re 53 MOTION to Stay Preliminary Injunction Pending Appeal
                    (This document relates to Bourgeois v. Dep't of Justice, 12−cv−782, Lee v.
                    Barr, 19−cv−2559, and Purkey v. Barr, 19−cv−3214) filed by ALFRED
                    BOURGEOIS, DUSTIN LEE HONKEN, DANIEL LEWIS LEE, WESLEY
                    IRA PURKEY. (Smith, Arin) (Entered: 11/22/2019)
11/22/2019          MINUTE ORDER: Upon consideration of Defendants' 53 Motion to Stay, this
                    court finds that Defendants are not likely to succeed on the merits of their
                    appeal and that the balance of harms does not weigh in favor of a stay.
                    Therefore, Defendants' 53 Motion to Stay is hereby DENIED. Signed by Judge
                    Tanya S. Chutkan on 11/22/2019. (tsclc) (Entered: 11/22/2019)
11/22/2019          USCA Case Number 19−5322 for 52 Notice of Appeal to DC Circuit Court,
                    filed by UNITED STATES DEPARTMENT OF JUSTICE. (zrdj) (Entered:
                    11/22/2019)
12/03/2019   58     Supplemental Record on Appeal transmitted to US Court of Appeals re Minute
                    Order on Motion to Stay, ; (ztd) (Entered: 12/03/2019)

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12/04/2019          MINUTE ORDER: This order relates to Lee (19cv2559). Denying without
                    prejudice 32 Motion for Leave to File Declarations given that the court did not
                    rely on the declarations in ruling on the motion for preliminary injunction.
                    Signed by Judge Tanya S. Chutkan on 12/04/19. (tsclc2) (Entered: 12/04/2019)
12/04/2019          MINUTE ORDER: Status Conference scheduled for February 6, 2020 at 2:00
                    PM in Courtroom 9 before Judge Tanya S. Chutkan to discuss discovery, filing
                    a consolidated amended complaint, and a case management plan. Signed by
                    Judge Tanya S. Chutkan on 12/04/19. (tsclc2) (Entered: 12/04/2019)
12/05/2019   59     NOTICE of Appearance− Pro Bono by Evan D. Miller on behalf of BRUCE
                    WEBSTER (Miller, Evan) (Entered: 12/05/2019)
12/06/2019          Minute Entry: Telephone Conference held on 12/6/2019 before Judge Tanya S.
                    Chutkan. (Court Reporter Bryan Wayne) (tb) (Entered: 12/09/2019)
12/10/2019   60     NOTICE of Appearance by Scott Wilson Braden on behalf of NORRIS G.
                    HOLDER, JR (Braden, Scott) (Main Document 60 replaced on 12/10/2019)
                    (ztd). (Entered: 12/10/2019)
12/12/2019          MINUTE ORDER: By 4:00 pm on 2/4/20, the parties shall file a joint status
                    report that includes a proposal for moving forward with this case, including
                    potentially filing consolidated pleadings and avoiding repetitious filings. The
                    joint report shall be accompanied by a proposed order. Signed by Judge Tanya
                    S. Chutkan on 12/12/19. (DJS) (Entered: 12/12/2019)
12/13/2019   61     NOTICE of Appearance− Pro Bono by Eric Hernandez on behalf of BRUCE
                    WEBSTER (Hernandez, Eric) (Entered: 12/13/2019)
12/13/2019          Set/Reset Deadlines: Joint Status Report due by 2/4/2020. (tb) (Entered:
                    12/13/2019)
12/14/2019   62     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Andrew
                    Moshos, Filing fee $ 100, receipt number ADCDC−6646229. Fee Status: Fee
                    Paid. by NORRIS G. HOLDER, JR (Attachments: # 1 Declaration, # 2 Text of
                    Proposed Order)(Braden, Scott) (Entered: 12/14/2019)
12/14/2019   63     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Stephen
                    Kraftschik, Filing fee $ 100, receipt number ADCDC−6646230. Fee Status:
                    Fee Paid. by NORRIS G. HOLDER, JR (Attachments: # 1 Declaration, # 2
                    Text of Proposed Order)(Braden, Scott) (Entered: 12/14/2019)
12/14/2019   64     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Jennifer Ying,
                    Filing fee $ 100, receipt number ADCDC−6646233. Fee Status: Fee Paid. by
                    NORRIS G. HOLDER, JR (Attachments: # 1 Declaration, # 2 Text of
                    Proposed Order)(Braden, Scott) (Entered: 12/14/2019)
12/23/2019          MINUTE ORDER: Granting 62 63 64 Motions for Leave to Appear Pro Hac
                    Vice. Andrew Moshos, Stephen Kraftschik and Jennifer Ying are hereby
                    admitted pro hac vice to appear in this matter on behalf of Plaintiff Norris
                    Holder (19−cv−3570). Counsel should register for e−filing via PACER and
                    file a notice of appearance pursuant to LCvR 83.6(a). Click for
                    instructions; granting 63 Motion for Leave to Appear Pro Hac Vice Counsel
                    should register for e−filing via PACER and file a notice of appearance
                    pursuant to LCvR 83.6(a). Click for instructions; granting 64 Motion for
                    Leave to Appear Pro Hac Vice Counsel should register for e−filing via

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                    PACER and file a notice of appearance pursuant to LCvR 83.6(a). Click
                    for instructions. Signed by Judge Tanya S. Chutkan on 12/23/19. (DJS)
                    (Entered: 12/23/2019)
12/26/2019   65     NOTICE of Appearance by Stephen J. Kraftschik on behalf of NORRIS G.
                    HOLDER, JR(19−cv−03520−TSC) (Kraftschik, Stephen) (Entered:
                    12/26/2019)
12/26/2019   66     NOTICE of Appearance by Jennifer Ying on behalf of NORRIS G. HOLDER,
                    JR(19−cv−03520−TSC) (Ying, Jennifer) (Entered: 12/26/2019)
12/26/2019   67     NOTICE of Appearance by Andrew Moshos on behalf of NORRIS G.
                    HOLDER, JR(19−cv−03520−TSC) (Moshos, Andrew) (Entered: 12/26/2019)
01/02/2020   68     NOTICE OF WITHDRAWAL OF APPEARANCE as to DANIEL LEWIS
                    LEE. Attorney Elizabeth Hagerty terminated. (Hagerty, Elizabeth) (Entered:
                    01/02/2020)
01/14/2020   69     NOTICE of Second Supplement to Administrative Record by WILLIAM P.
                    BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY,
                    UTTAM DHILLON, ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY (Attachments: # 1 Campos
                    Declaration and Corrected Page of Administrative Record, # 2 Certification of
                    Second Amended Index of Administrative Record)(Burch, Alan) (Entered:
                    01/14/2020)
01/16/2020          Set/Reset Hearings: Status Conference set for 02/06/2020 has been
                    RESCHEDULED to 2/12/2020 at 11:00 AM in Courtroom 9 before Judge
                    Tanya S. Chutkan. (tb) (Entered: 01/16/2020)
01/22/2020   70     NOTICE of Filing Under Seal Video of Rule 30(b)(6) deposition of US
                    Marshals Service by WILLIAM P. BARR, MARK BEZY, RADM CHRIS A.
                    BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF,
                    NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS,
                    ERIC H. HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER,
                    PAUL LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES
                    L. LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES
                    E. SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED
                    STATES DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS
                    WEBSTER (Burch, Alan) (Entered: 01/22/2020)
01/30/2020   71     NOTICE of Filing Under Seal Video of Rule 30(b)(6) deposition of the Office
                    of the Attorney General by WILLIAM P. BARR, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R.
                    DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, ERIC H. HOLDER, JR, IN THE MATTER OF THE
                    FEDERAL BUREAU OF PRISONS' EXECUTION PROTOCOL CASES,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD (Burch,
                    Alan) (Entered: 01/30/2020)
01/31/2020   72


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                    Unopposed MOTION for Extension of Time to File Joint Status Report by
                    WILLIAM P. BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F.
                    CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER
                    (Burch, Alan) (Entered: 01/31/2020)
01/31/2020   73     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Stephanie
                    Simon, Filing fee $ 100, receipt number ADCDC−6786976. Fee Status: Fee
                    Paid. by WESLEY IRA PURKEY (Attachments: # 1 Declaration of Stephanie
                    Simon, # 2 Text of Proposed Order)(Smith, Arin) (Entered: 01/31/2020)
02/03/2020          MINUTE ORDER granting 72 Unopposed Motion for Extension. Joint Status
                    Report is now due at February 10, 2020 at 4PM. Signed by Judge Tanya S.
                    Chutkan on 2/3/2020. (lcdl) (Entered: 02/03/2020)
02/04/2020   74     NOTICE of Appearance by Andres C. Salinas on behalf of WESLEY IRA
                    PURKEY (Salinas, Andres) (Entered: 02/04/2020)
02/04/2020          Set/Reset Deadlines: Joint Status Report due by 2/10/2020. (tb) (Entered:
                    02/04/2020)
02/05/2020   75     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Norman
                    Anderson, Fee Status: No Fee Paid. by DUSTIN LEE HONKEN (Attachments:
                    # 1 Declaration, # 2 Text of Proposed Order)Associated Cases:
                    1:19−mc−00145−TSC, 1:19−cv−03520−TSC(Jeffress, Jonathan) (Entered:
                    02/05/2020)
02/07/2020          MINUTE ORDER: Denying without prejudice 73 Motion for Admission Pro
                    Hac Vice for failing to fully comply with Local Civil Rule 83.2(d)(6). Affiants
                    with offices located outside of the District of Columbia are still required to
                    provide sufficient information for the court to determine "whether the affiant
                    engages in the practice of law from an office located in the District of
                    Columbia." Signed by Judge Tanya S. Chutkan on 2/7/2020. (DJS) (Entered:
                    02/07/2020)
02/07/2020          MINUTE ORDER: Granting in part and denying in part 75 Motion for
                    Admission Pro Hac Vice. Norman Anderson may be heard in open court on
                    behalf of Defendant HONKEN, but may not file papers in this court. See Local
                    Civil Rule 83.2(c)(2) ("An attorney who engages in the practice of law from an
                    office located in the District of Columbia must be a member of the District of
                    Columbia Bar AND the Bar of this Court to file papers in this Court.").
                    Counsel should register for ECF via PACER and file a notice of
                    appearance pursuant to LCvR 83.6(a). Click for instructions. Signed by
                    Judge Tanya S. Chutkan on 2/7/2020. (DJS) (Entered: 02/07/2020)
02/10/2020   76     Joint STATUS REPORT by DANIEL LEWIS LEE. (Attachments: # 1 Text of
                    Proposed Order)(Van Tol, Pieter) (Entered: 02/10/2020)
02/10/2020   77     Unopposed MOTION for Leave to Appear by Telephone at the February 12,
                    2020 Status Conference by JULIUS ROBINSON (Attachments: # 1 Text of


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                    Proposed Order)Associated Cases: 1:19−mc−00145−TSC,
                    1:19−cv−03520−TSC(Aminoff, Jonathan) (Entered: 02/10/2020)
02/11/2020          MINUTE ORDER granting 77 Motion for Leave to Appear by Telephone.
                    Jonathan Aminoff, counsel for Julius Robinson, may appear at the 2/2/2020
                    status conference via telephone. Counsel shall contact Courtroom Deputy Tim
                    Bradley at least two hours prior to the call for dial−in instructions. Signed by
                    Judge Tanya S. Chutkan on 2/11/2020. (DJS) (Entered: 02/11/2020)
02/11/2020          MINUTE ORDER: Counsel are hereby reminded to familiarize themselves
                    with court's Consolidation order 1 , which provides that "Any pleading or paper
                    filed relating to any of the Federal Bureau of Prisons' Execution Protocol Cases
                    must be filed ONLY in the Master Case File," which means you MUST
                    CHECK "NO" WHEN ASKED "Do you want to spread this docket entry?".
                    Signed by Judge Tanya S. Chutkan on 2/11/2020. (DJS) (Entered: 02/11/2020)
02/12/2020   78     NOTICE of Appearance by Shawn Nolan on behalf of DUSTIN LEE
                    HONKEN (Nolan, Shawn) (Entered: 02/12/2020)
02/12/2020   79     NOTICE of Appearance by Shawn Nolan on behalf of CHADRICK EVAN
                    FULKS (Nolan, Shawn) (Entered: 02/12/2020)
02/12/2020          Minute Entry: Status Conference held on 2/12/2020 before Judge Tanya S.
                    Chutkan: Scheduling Order forthcoming. (Court Reporter Bryan Wayne) (tb)
                    (Entered: 02/13/2020)
02/14/2020   80     NOTICE OF WITHDRAWAL OF APPEARANCE as to NORRIS G.
                    HOLDER, JR. Attorney Stephen J. Kraftschik terminated. Associated Cases:
                    1:19−mc−00145−TSC, 1:19−cv−03520−TSC(Kraftschik, Stephen) (Entered:
                    02/14/2020)
02/19/2020   81     ORDER: Having considered the parties' joint status report 76 , it is ordered that
                    the parties shall adhere to the following deadlines: Plaintiffs' consolidated
                    amended complaint due March 31, 2020. Defendants' dispositive motion due
                    June 1, 2020. Plaintiffs' combined opposition/or cross motion due August 3,
                    2020. Defendants' combined reply /opposition due September 14, 2020.
                    Plaintiffs' reply, if any, due October 5, 2020. The parties shall meet and confer
                    pursuant to Federal Rule of Civil Procedure 26(f) and file a joint case
                    management plan 15 days after resolution of the dispositive motion, if
                    necessary. Signed by Judge Tanya S. Chutkan on 02/19/20. (lcdl) (Entered:
                    02/19/2020)
02/19/2020          Set/Reset Deadlines: Amended Pleadings due by 3/31/2020. Cross Motion/due
                    by 8/3/2020. Response to Cross Motion due by 9/14/2020. Reply to Cross
                    Motion due by 10/5/2020. Dispositive Motion due by 6/1/2020. Response to
                    Dispositive Motion due by 8/3/2020. Reply to Dispositive Motion due by
                    9/14/2020. Associated Cases: 1:19−mc−00145−TSC, 1:19−cv−03520−TSC(tb)
                    (Entered: 02/19/2020)
02/20/2020   82     NOTICE of Filing Under Seal of Rule 30(b)(6) deposition of Drug
                    Enforcement Administration by WILLIAM P. BARR, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R.
                    DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, ERIC H. HOLDER, JR, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.


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                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED
                    STATES DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS
                    WEBSTER (Burch, Alan) (Entered: 02/20/2020)
02/21/2020   83     MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Jeffery Lyons,
                    Filing fee $ 100, receipt number ADCDC−6851362. Fee Status: Fee Paid. by
                    NORRIS G. HOLDER, JR (Attachments: # 1 Declaration, # 2 Text of
                    Proposed Order)(Braden, Scott) (Entered: 02/21/2020)
02/24/2020          MINUTE ORDER: Granting 83 Motion for Leave to Appear Pro Hac Vice.
                    Jeffery Lyons is hereby admitted pro hac vice to appear in this matter on behalf
                    Plaintiff NORRIS G. HOLDER, JR. Counsel should register for e−filing via
                    PACER and file a notice of appearance pursuant to LCvR 83.6(a). Click
                    for instructions. Signed by Judge Tanya S. Chutkan on 2/24/2020. (DJS)
                    (Entered: 02/24/2020)
02/27/2020   84     NOTICE OF WITHDRAWAL OF APPEARANCE as to BRUCE WEBSTER.
                    Attorney Eric Hernandez terminated. Associated Cases: 1:19−mc−00145−TSC,
                    1:19−cv−03520−TSC(Hernandez, Eric) (Entered: 02/27/2020)
03/02/2020   85     NOTICE of Appearance by Jeffrey Lyons on behalf of NORRIS G. HOLDER,
                    JR (Lyons, Jeffrey) (Entered: 03/02/2020)
03/03/2020   86     NOTICE OF WITHDRAWAL OF APPEARANCE as to WESLEY IRA
                    PURKEY. Attorney Arin Hillary Smith terminated. (Smith, Arin) (Entered:
                    03/03/2020)
03/17/2020   87     Consent MOTION for Extension of Time to File Consolidated Amended
                    Complaint and Dispositive Motion Papers by WILLIAM P. BARR, MARK
                    BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON,
                    ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL,
                    CHADRICK EVAN FULKS, ERIC H. HOLDER, JR, NEWTON E. KENDIG,
                    II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN,
                    MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH MCCLAIN,
                    MICHAEL B. MUKASEY, CHARLES E. SAMUELS, JR, KAREN
                    TANDY(Administrator, Drug Enforcement Administration (05cv2337)),
                    KAREN TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT
                    OF JUSTICE, T. J. WATSON, THOMAS WEBSTER (Burch, Alan) (Entered:
                    03/17/2020)
03/18/2020          MINUTE ORDER granting 87 Joint Motion to Extend Time. The schedule
                    adopted in ECF No. 81 is hereby VACATED. The parties shall adhere to the
                    following deadlines: Plaintiff's Consolidated Amended Complaint due June 1,
                    2020; Defendant's dispositive motion due July 31, 2020; Plaintiff's combined
                    opposition and/or cross motion due September 28, 2020; Defendant's combined
                    reply and/or cross opposition due November 13, 2020; Plaintiff's cross reply (if
                    any) due December 4, 2020. The parties shall meet and confer pursuant to
                    Federal Rule of Civil Procedure 26(f) and file a joint case management plan 15
                    days after resolution of the dispositive motion, if necessary. Signed by Judge
                    Tanya S. Chutkan on 3/18/2020. (lcdl) (Entered: 03/18/2020)
03/27/2020   88     NOTICE OF WITHDRAWAL OF APPEARANCE as to NORRIS G.
                    HOLDER, JR. Attorney Jeffrey Lyons terminated. (Lyons, Jeffrey) (Entered:

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                    03/27/2020)
04/07/2020   89     NOTICE of Appearance by Jennifer M. Moreno on behalf of KEITH NELSON
                    (Moreno, Jennifer) (Entered: 04/07/2020)
05/14/2020   90     NOTICE of Filing Under Seal Video of 30(b)(6) continuation deposition of
                    Federal Bureau of Prisons by WILLIAM P. BARR, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R.
                    DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, ERIC H. HOLDER, JR, DUSTIN LEE HONKEN, IN THE
                    MATTER OF THE FEDERAL BUREAU OF PRISONS' EXECUTION
                    PROTOCOL CASES, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER,
                    PAUL LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES
                    L. LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES
                    E. SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED
                    STATES DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS
                    WEBSTER (Burch, Alan) (Entered: 05/14/2020)
06/01/2020   91     SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                    filed by WESLEY IRA PURKEY (This document is SEALED and only
                    available to authorized persons.) (Attachments: # 1 Proposed Sealed
                    Complaint, # 2 Text of Proposed Order)(Schoenfeld, Alan) (Entered:
                    06/01/2020)
06/01/2020   92     AMENDED COMPLAINT (Redacted) against WILLIAM P. BARR, MARK
                    BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON,
                    ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in their official
                    capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually and in their
                    official capacities 05cv2337; 12cv00782 I−X), NICOLE ENGLISH, KERRY
                    J. FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER filed
                    by WESLEY IRA PURKEY.(Schoenfeld, Alan) (Entered: 06/01/2020)
06/01/2020   93     ENTERED IN ERROR. . . . .AMENDED COMPLAINT Supplemental against
                    WILLIAM P. BARR filed by NORRIS G. HOLDER, JR. (Attachments: # 1
                    Exhibit Declaration of Dr. Arthur Grant)(Braden, Scott) Modified on 6/2/2020
                    (ztd). (Entered: 06/01/2020)
06/01/2020   94     SUPPLEMENT TO 92 AMENDED COMPLAINT Supplemental−Corrected
                    against WILLIAM P. BARR filed by NORRIS G. HOLDER, JR.
                    (Attachments: # 1 Exhibit Declaration of Dr. Arthur Grant)(Braden, Scott)
                    Modified on 6/2/2020 (ztd). (Entered: 06/01/2020)
06/01/2020          NOTICE OF CORRECTED DOCKET ENTRY: re 93 Amended Complaint
                    was entered in error and counsel refiled said pleading as docket entry no. 94 .
                    (ztd) (Entered: 06/02/2020)
06/07/2020   95     NOTICE of Appearance by Cristen Cori Handley on behalf of All Defendants
                    (Handley, Cristen) (Entered: 06/07/2020)

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06/08/2020   96     NOTICE of Appearance by Dale Andrew Baich on behalf of KEITH NELSON
                    (Baich, Dale) (Entered: 06/08/2020)
06/08/2020    97    NOTICE of Third Supplement to Administrative Record by WILLIAM P.
                    BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY,
                    UTTAM DHILLON, ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, NEWTON E. KENDIG, II,
                    JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, JOSEPH MCCLAIN, KAREN
                    TANDY(Administrator, Drug Enforcement Administration (05cv2337)),
                    KAREN TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT
                    OF JUSTICE, T. J. WATSON, THOMAS WEBSTER (Attachments: # 1
                    Certified Index of Administrative Record, # 2 Bates Pages 1075−85)(Burch,
                    Alan) (Entered: 06/08/2020)
06/12/2020    98    MANDATE of USCA as to 52 Notice of Appeal to DC Circuit Court, filed by
                    UNITED STATES DEPARTMENT OF JUSTICE ; USCA Case Number
                    19−5322. (Attachments: # 1 USCA Judgment)(zrdj) (Entered: 06/15/2020)
06/15/2020    99    NOTICE Regarding Execution Dates by WILLIAM P. BARR, MARK BEZY,
                    RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN
                    R. DOERHOFF, NICOLE ENGLISH, KERRY J. FORESTAL, CHADRICK
                    EVAN FULKS, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED
                    STATES DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS
                    WEBSTER (Burch, Alan) (Entered: 06/15/2020)
06/18/2020   100    MOTION for Leave to Appear Pro Hac Vice :Attorney Name− Danielle
                    Desaulniers Stempel, Filing fee $ 100, receipt number ADCDC−7243866. Fee
                    Status: Fee Paid. by DANIEL LEWIS LEE (Attachments: # 1 Declaration of
                    Danielle Desaulniers Stempel, # 2 Text of Proposed Order, # 3 Certificate of
                    Service)(Victorson, David) (Entered: 06/18/2020)
06/19/2020   101    MOTION to Strike 99 Notice (Other),, by KEITH NELSON (Attachments: # 1
                    Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Text of Proposed
                    Order)(Clune, Kathryn) (Entered: 06/19/2020)
06/19/2020          MINUTE ORDER: Granting 5 Motion for Leave to Appear Pro Hac Vice.
                    Danielle Desaulniers Stempel is hereby admitted pro hac vice to appear in this
                    matter on behalf of Plaintiff DANIEL LEWIS LEE. Counsel should register
                    for e−filing via PACER and file a notice of appearance pursuant to LCvR
                    83.6(a). Click for instructions. Signed by Judge Tanya S. Chutkan on
                    6/19/2020. (DJS) (Entered: 06/19/2020)
06/19/2020   102    MOTION for Preliminary Injunction by DUSTIN LEE HONKEN, DANIEL
                    LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY (Attachments: # 1
                    Declaration of Alan E. Schoenfeld, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, #
                    5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Text of Proposed
                    Order)(Schoenfeld, Alan) (Entered: 06/19/2020)
06/19/2020   103    SUPPLEMENTAL MEMORANDUM re 102 MOTION for Preliminary
                    Injunction filed by DUSTIN LEE HONKEN, KEITH NELSON, WESLEY

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                    IRA PURKEY, DANIEL LEWIS LEE by DANIEL LEWIS LEE.
                    (Attachments: # 1 Exhibit A−Arkansas Lethal Injection Procedure, # 2
                    Certificate of Service)(Van Tol, Pieter) Modified event title on 6/23/2020
                    (znmw). (Entered: 06/19/2020)
06/19/2020   104    MOTION for Discovery Expedited by DUSTIN LEE HONKEN, DANIEL
                    LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY (Attachments: # 1
                    Exhibit 1−Plaintiffs First Set of Interrogatories to Defendants, # 2 Exhibit
                    2−E−mail Correspondence, # 3 Text of Proposed Order, # 4 Certificate of
                    Service)(Van Tol, Pieter) (Entered: 06/19/2020)
06/19/2020   105    ENTERED IN ERROR. . . . .MOTION to Expedite THIS DOCUMENT
                    RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr, 19−cv−3214, and
                    Nelson v. Barr, 20−cv−557 by DUSTIN LEE HONKEN, DANIEL LEWIS
                    LEE, KEITH NELSON, WESLEY IRA PURKEY (Attachments: # 1 Text of
                    Proposed Order)(Schoenfeld, Alan) Modified on 6/22/2020 (ztd). (Entered:
                    06/19/2020)
06/19/2020          NOTICE OF CORRECTED DOCKET ENTRY: re 105 MOTION to Expedite
                    THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557 was entered in error and counsel
                    refiled said pleading as docket entry no. 106 . (ztd) (Entered: 06/22/2020)
06/20/2020          MINUTE ORDER: Defendants shall file any oppositions to Plaintiffs' 101 ,
                    102 , 103 , 104 , and 105 no later than June 25, 2020. The opposition to each
                    motion shall be filed separately, rather than as an omnibus opposition.
                    Plaintiffs shall file any replies no later than June 29, 2020. The replies in
                    support of each motion shall be filed separately, rather than as an omnibus
                    reply. Signed by Judge Tanya S. Chutkan on 6/20/2020. (lcdl) (Entered:
                    06/20/2020)
06/20/2020   106    MOTION to Expedite (Corrected) (THIS DOCUMENT RELATES TO: Lee v.
                    Barr, 19−cv−2559, Purkey v. Barr, 19−cv−3214, and Nelson v. Barr,
                    20−cv−557) by DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH
                    NELSON, WESLEY IRA PURKEY (Attachments: # 1 Text of Proposed
                    Order)(Schoenfeld, Alan) (Entered: 06/20/2020)
06/23/2020          Set/Reset Deadlines: Responses due by 6/25/2020. Replies due by 6/29/2020.
                    (tb) (Entered: 06/23/2020)
06/25/2020   107    Memorandum in opposition to re 104 MOTION for Discovery Expedited filed
                    by WILLIAM P. BARR, MARK BEZY, RADM CHRIS A. BINA, JOHN F.
                    CARAWAY, UTTAM DHILLON, ALAN R. DOERHOFF, NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, NEWTON
                    E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH
                    MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS, JR,
                    KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER.
                    (Burch, Alan) (Entered: 06/25/2020)
06/25/2020   108    Memorandum in opposition to re 106 MOTION to Expedite (Corrected) (THIS
                    DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557) filed by WILLIAM P. BARR,

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                    MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, NEWTON E. KENDIG, II,
                    JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G. LAPPIN, MICHELE
                    LEONHART, CHARLES L. LOCKETT, JOSEPH MCCLAIN, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED
                    STATES DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS
                    WEBSTER. (Burch, Alan) (Entered: 06/25/2020)
06/25/2020   109    Memorandum in opposition to re 101 MOTION to Strike 99 Notice (Other),,
                    filed by WILLIAM P. BARR, ANTHONY BATTLE, MARK BEZY, RADM
                    CHRIS A. BINA, JOHN F. CARAWAY, ALAN R. DOERHOFF, NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, NEWTON
                    E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD, HARLEY G.
                    LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT, JOSEPH
                    MCCLAIN, CHARLES E. SAMUELS, JR, KAREN TANDY(Administrator,
                    Drug Enforcement Administration (05cv2337)), KAREN
                    TANDY(07−cv−02145−TSC), UNITED STATES DEPARTMENT OF
                    JUSTICE, T. J. WATSON, THOMAS WEBSTER. (Attachments: # 1
                    Declaration of Kevin Pistro)(Burch, Alan) (Entered: 06/25/2020)
06/25/2020   110    RESPONSE re 103 Memorandum, filed by WILLIAM P. BARR, MARK
                    BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON,
                    ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in their official
                    capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually and in their
                    official capacities 05cv2337; 12cv00782 I−X), NICOLE ENGLISH, KERRY
                    J. FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER.
                    (Handley, Cristen) (Entered: 06/25/2020)
06/25/2020   111    RESPONSE re 102 MOTION for Preliminary Injunction (this filing relates to
                    Lee v. Barr, 19cv2559, Purkey v. Barr, 19cv3214, Nelson v. Barr, 20cv557)
                    filed by UNITED STATES DEPARTMENT OF JUSTICE. (Attachments: # 1
                    Exhibit A (book excerp), # 2 Exhibit Winter Decl. Excerp, # 3 Affidavit
                    Declaration of Tom Watson, # 4 Affidavit Declaration of Joseph Antognini,
                    MD)(Lin, Jean) (Entered: 06/25/2020)
06/26/2020   112    NOTICE of Appearance by Danielle Desaulniers Stempel on behalf of
                    DANIEL LEWIS LEE (Attachments: # 1 Certificate of Service)(Stempel,
                    Danielle) (Entered: 06/26/2020)
06/26/2020   113    NOTICE of Correction (and Corrected Brief) by UNITED STATES
                    DEPARTMENT OF JUSTICE re 111 Response to motion, (Attachments: # 1
                    Errata CORRECTED Defendants' Opposition to Plaintiffs Lee, Honken,
                    Purkery and Nelson's Motion for a Preliminary Injunction)(Lin, Jean) (Entered:
                    06/26/2020)
06/29/2020   114

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                    REPLY to opposition to motion re (101 in 1:19−mc−00145−TSC) MOTION to
                    Strike (99) Notice (Other),, filed by KEITH NELSON. Associated Cases:
                    1:19−mc−00145−TSC, 1:20−cv−00557−TSC(Clune, Kathryn) (Entered:
                    06/29/2020)
06/29/2020   115    REPLY re 102 , 103 in Support of Supplemental Memorandum in Support of
                    Motion for a Preliminary Injunction filed by DANIEL LEWIS LEE.
                    (Attachments: # 1 Certificate of Service)(Van Tol, Pieter) Modified linkage on
                    6/30/2020 (ztd). (Entered: 06/29/2020)
06/29/2020   116    REPLY re 106 in Further Support of Motion for Expedited Discovery filed by
                    DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH NELSON,
                    WESLEY IRA PURKEY. (Attachments: # 1 Exhibit A − OIRA Conclusion of
                    EO 12866 Regulatory Review, # 2 Exhibit B − Exec. Order No. 12,866, # 3
                    Certificate of Service)(Van Tol, Pieter) Modified linkage on 6/30/2020 (ztd).
                    (Entered: 06/29/2020)
06/29/2020   117    MOTION for Leave to File Supplemental Expert Declaration THIS
                    DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557 by DUSTIN LEE HONKEN,
                    DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY
                    (Attachments: # 1 Exhibit 1 − Supplemental Expert Declaration of Gail A. Van
                    Norman, M.D., # 2 Text of Proposed Order)(Schoenfeld, Alan) (Entered:
                    06/29/2020)
06/29/2020   118    REPLY to opposition to motion re 102 MOTION for Preliminary Injunction
                    (THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557) filed by DUSTIN LEE
                    HONKEN, DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA
                    PURKEY. (Schoenfeld, Alan) (Entered: 06/29/2020)
06/29/2020   119    REPLY to opposition to motion re 106 MOTION to Expedite (Corrected)
                    (THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr,
                    19−cv−3214, and Nelson v. Barr, 20−cv−557) (THIS DOCUMENT RELATES
                    TO: Lee v. Barr, 19−cv−2559, Purkey v. Barr, 19−cv−3214, and Nelson v.
                    Barr, 20−cv−557) filed by DUSTIN LEE HONKEN, DANIEL LEWIS LEE,
                    KEITH NELSON, WESLEY IRA PURKEY. (Schoenfeld, Alan) (Entered:
                    06/29/2020)
06/30/2020   120    RESPONSE re 117 MOTION for Leave to File Supplemental Expert
                    Declaration THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559,
                    Purkey v. Barr, 19−cv−3214, and Nelson v. Barr, 20−cv−557 filed by
                    UNITED STATES DEPARTMENT OF JUSTICE. (Attachments: # 1 Exhibit
                    A−Proposed Surreply, # 2 Declaration Supplemental Declaration of Dr. Joseh
                    F. Antognini, # 3 Text of Proposed Order)(Lin, Jean) (Entered: 06/30/2020)
06/30/2020   121    Consent MOTION for Leave to File Surreply and Supplemental Declaration of
                    Dr. Joseph F. Antognini, in opposition to Plaintiffs' Motion for Preliminary
                    Injunction (This filing relates to Lee v. Barr, 19cv2559, Purkey v. Barr,
                    19cv3214, and Nelson v. Barr, 20cv557) by UNITED STATES
                    DEPARTMENT OF JUSTICE (Attachments: # 1 Exhibit A−Proposed
                    Surreply, # 2 Exhibit A−1 Supplemental Declaration of Dr. Joseh F. Antognini,
                    # 3 Text of Proposed Order)(Lin, Jean) (Entered: 06/30/2020)
06/30/2020   122

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                    NOTICE of Correction by UNITED STATES DEPARTMENT OF JUSTICE
                    re 120 Response to motion, 121 Consent MOTION for Leave to File Surreply
                    and Supplemental Declaration of Dr. Joseph F. Antognini, in opposition to
                    Plaintiffs' Motion for Preliminary Injunction (This filing relates to Lee v. Barr,
                    19cv2559, Purkey v. Barr, 19cv3214, and Nelso (Attachments: # 1 Corrected
                    Proposed Surreply, # 2 Corrected Supplemental Declaration of Dr. Joseph F.
                    Antognini)(Lin, Jean) (Entered: 06/30/2020)
07/01/2020          MINUTE ORDER: It is hereby ORDERED that Plaintiff' 117 Motion for
                    Leave to File is GRANTED. Plaintiffs' filing of the supplemental expert
                    declaration of Dr. Gail A. Van Norman is deemed properly filed and,
                    accordingly, the court may consider this declaration in connection with
                    Plaintiff' Motion for a Preliminary Injunction. It is further ORDERED that 121
                    Consent Motion for Leave to File is GRANTED. The Clerk of the Court shall
                    docket Defendants' proposed surreply and supplemental declaration, the
                    corrected version of which Defendants attached to 122 Notice of Correction..
                    Signed by Judge Tanya S. Chutkan on 7/1/2020. (lcdl) (Entered: 07/01/2020)
07/01/2020   123    AFFIDAVIT Supplemental Expert Declaration of Gail A. Van Norman, M.D.,
                    by DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH NELSON,
                    WESLEY IRA PURKEY. (ztd) (Entered: 07/01/2020)
07/01/2020   124    SURREPLY to re 117 MOTION for Leave to File Supplemental Expert
                    Declaration THIS DOCUMENT RELATES TO: Lee v. Barr, 19−cv−2559,
                    Purkey v. Barr, 19−cv−3214, and Nelson v. Barr, 20−cv−557 filed by
                    UNITED STATES DEPARTMENT OF JUSTICE. (Attachments: # 1
                    Declaration Supplemental Declaration of Dr. Joseh F. Antognini)(ztd) (Main
                    Document 124 replaced on 7/1/2020) (ztd). (Attachment 1 replaced on
                    7/1/2020) (ztd). (Entered: 07/01/2020)
07/02/2020   125    NOTICE by DUSTIN LEE HONKEN, DANIEL LEWIS LEE, KEITH
                    NELSON, WESLEY IRA PURKEY re 116 Reply to Document, 104 MOTION
                    for Discovery Expedited (Attachments: # 1 Certificate of Service)(Van Tol,
                    Pieter) (Entered: 07/02/2020)
07/03/2020   126    NOTICE of Supplemental Authority. (THIS DOCUMENT RELATES TO:
                    Purkey v. Barr, 19−cv−3214 ) by WESLEY IRA PURKEY (Attachments: # 1
                    Exhibit A)(Schoenfeld, Alan) (Entered: 07/03/2020)
07/03/2020   127    NOTICE OF WITHDRAWAL OF APPEARANCE as to WILLIAM P. BARR,
                    MARK BEZY, RADM CHRIS A. BINA, JOHN F. CARAWAY, UTTAM
                    DHILLON, ALAN R. DOERHOFF, JOHN DOES(I−IV, Individually and in
                    their official capacities; 07−cv−02145−TSC), JOHN DOES(I−V, Individually
                    and in their official capacities 05cv2337; 12cv00782 I−X), NICOLE
                    ENGLISH, KERRY J. FORESTAL, CHADRICK EVAN FULKS, ERIC H.
                    HOLDER, JR, NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL
                    LAIRD, HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L.
                    LOCKETT, JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E.
                    SAMUELS, JR, KAREN TANDY(Administrator, Drug Enforcement
                    Administration (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED
                    STATES DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS
                    WEBSTER. Attorney Ethan Price Davis terminated. (Attachments: # 1
                    Certificate of Service)(Davis, Ethan) (Entered: 07/03/2020)



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07/06/2020          MINUTE ORDER: Plaintiff's Unopposed Motion 91 to File Document Under
                    Seal is hereby GRANTED. The Clerk of the Court is requested to file under
                    seal Plaintiffs Amended Complaint (Exhibit 1). SO ORDERED by Judge
                    Tanya S. Chutkan on 07/06/2020. (tb) (Entered: 07/06/2020)
07/10/2020   129    NOTICE OF SUPPLEMENTAL AUTHORITY by DANIEL LEWIS LEE
                    (Attachments: # 1 Exhibit A − Peterson v. Barr Order Granting Pls.' Motion for
                    Prelim. Inj., # 2 Certificate of Service)(Van Tol, Pieter) (Entered: 07/10/2020)
07/10/2020          MINUTE ORDER: Telephone Status Conference scheduled for July 11, 2020
                    at 1 PM. Signed by Judge Tanya S. Chutkan on 7/10/2020. (lcdl) (Entered:
                    07/10/2020)
07/11/2020          Set/Reset Hearings: Telephone Conference set for 7/11/2020 at 01:00 PM in
                    Telephonic/VTC before Judge Tanya S. Chutkan. (lcdl) (Entered: 07/11/2020)
07/11/2020          Minute Entry: Telephone Conference held on 7/11/2020 before Judge Tanya S.
                    Chutkan: The parties informed the Court of the posture of pending executions.
                    (Court Reporter Bryan Wayne) (tb) (Entered: 07/11/2020)
07/11/2020   130    TRANSCRIPT OF 7/11/20 TELEPHONE CONFERENCE before Judge
                    Tanya S. Chutkan held on July 11, 2020; Page Numbers: 1−14. Date of
                    Issuance: 7/11/2020. Court Reporter: Bryan A. Wayne. Transcripts may be
                    ordered by submitting the Transcript Order Form at www.dcd.uscourts.gov.
                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.NOTICE RE REDACTION OF TRANSCRIPTS:
                    The parties have twenty−one days to file with the court and the court reporter
                    any request to redact personal identifiers from this transcript. If no such
                    requests are filed, the transcript will be made available to the public via
                    PACER without redaction after 90 days. The policy, which includes the five
                    personal identifiers specifically covered, is located on our website at
                    www.dcd.uscourts.gov. Redaction Request due 8/1/2020. Redacted Transcript
                    Deadline set for 8/11/2020. Release of Transcript Restriction set for
                    10/9/2020.(Wayne, Bryan) (Entered: 07/11/2020)
07/12/2020   131    NOTICE OF SUPPLEMENTAL AUTHORITY by DUSTIN LEE HONKEN,
                    DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY
                    (Attachments: # 1 Exhibit Hartkemeyer v. Barr − Declaration of Rick Winter, #
                    2 Certificate of Service)(Van Tol, Pieter) (Entered: 07/12/2020)
07/12/2020   132    NOTICE (Corrected) of Supplemental Authority by DUSTIN LEE HONKEN,
                    DANIEL LEWIS LEE, KEITH NELSON, WESLEY IRA PURKEY
                    (Attachments: # 1 Exhibit Exhibit Hartkemeyer v. Barr − Declaration of Rick
                    Winter, # 2 Certificate of Service)(Van Tol, Pieter) (Entered: 07/12/2020)
07/12/2020   133    NOTICE by DANIEL LEWIS LEE (Attachments: # 1 Exhibit A − Peterson v.
                    Barr Filed Opinion (No. 20−2252), # 2 Certificate of Service)(Van Tol, Pieter)
                    (Entered: 07/12/2020)
07/12/2020   134    RESPONSE re 133 Notice (Other), 132 Notice (Other), (this filing relates to
                    Lee v. Barr et al. (No. 19−cv−2559), Purkey v. Barr et al. (No. 19−cv−03214),
                    and Nelson v. Barr (No. 20−cv−557)) filed by WILLIAM P. BARR, RADM


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                    CHRIS A. BINA, JOHN F. CARAWAY, UTTAM DHILLON, ALAN R.
                    DOERHOFF, JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), JOHN DOES(I−V, Individually and in their official
                    capacities 05cv2337; 12cv00782 I−X), NICOLE ENGLISH, KERRY J.
                    FORESTAL, CHADRICK EVAN FULKS, ERIC H. HOLDER, JR,
                    NEWTON E. KENDIG, II, JEFFREY E. KRUEGER, PAUL LAIRD,
                    HARLEY G. LAPPIN, MICHELE LEONHART, CHARLES L. LOCKETT,
                    JOSEPH MCCLAIN, MICHAEL B. MUKASEY, CHARLES E. SAMUELS,
                    JR, KAREN TANDY(Administrator, Drug Enforcement Administration
                    (05cv2337)), KAREN TANDY(07−cv−02145−TSC), UNITED STATES
                    DEPARTMENT OF JUSTICE, T. J. WATSON, THOMAS WEBSTER.
                    (Handley, Cristen) (Entered: 07/12/2020)
07/13/2020   135    MEMORANDUM AND OPINION regarding Plaintiffs' 102 motion for
                    preliminary injunction. Signed by Judge Tanya S. Chutkan on 7/13/2020. (lcdl)
                    (Entered: 07/13/2020)
07/13/2020   136    ORDER granting Plaintiffs' 102 Motion for Preliminary Injunction. Defendants
                    are hereby enjoined from executing Plaintiffs until further order of this court.
                    See Order for details. Signed by Judge Tanya S. Chutkan on 7/13/2020. (lcdl)
                    (Entered: 07/13/2020)
07/13/2020   137    NOTICE OF APPEAL TO DC CIRCUIT COURT as to 135 Memorandum &
                    Opinion, 136 Order on Motion for Preliminary Injunction by MICHELE
                    LEONHART, JOHN F. CARAWAY, JEFFREY E. KRUEGER, CHADRICK
                    EVAN FULKS, UNITED STATES DEPARTMENT OF JUSTICE, JOSEPH
                    MCCLAIN, ERIC H. HOLDER, JR, CHARLES E. SAMUELS, JR,
                    WILLIAM P. BARR, NEWTON E. KENDIG, II, MARK BEZY, KERRY J.
                    FORESTAL, NICOLE ENGLISH, PAUL LAIRD, THOMAS WEBSTER,
                    JOHN DOES(I−IV, Individually and in their official capacities;
                    07−cv−02145−TSC), UTTAM DHILLON, ALAN R. DOERHOFF, HARLEY
                    G. LAPPIN, JOHN DOES(I−V, Individually and in their official capacities
                    05cv2337; 12cv00782 I−X), CHARLES L. LOCKETT, KAREN
                    TANDY(Administrator, Drug Enforcement Administration (05cv2337)),
                    MICHAEL B. MUKASEY, T. J. WATSON, KAREN
                    TANDY(07−cv−02145−TSC), RADM CHRIS A. BINA. Fee Status: No Fee
                    Paid. Parties have been notified. (Attachments: # 1 Exhibit District Court
                    Opinion, # 2 Exhibit District Court Order)(Handley, Cristen) (Entered:
                    07/13/2020)




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      Case
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                              )
In the Matter of the                          )
Federal Bureau of Prisons’ Execution          )
Protocol Cases,                               )
                                              )
LEAD CASE: Roane et al. v. Barr               )      Case No. 19-mc-145 (TSC)
                                              )
                                              )
THIS DOCUMENT RELATES TO:                     )
                                              )
Lee v. Barr, et al., 19-cv-2559               )
Purkey v. Barr, et al., 19-cv-03214           )
Nelson v. Barr, et al., 20-cv-557             )


                                      NOTICE OF APPEAL

       Notice is hereby given this 13th day of July 2020, that Defendants in this action appeal to

the United States Court of Appeals for the District of Columbia Circuit from the Order of this

Court entered on July 13, 2020, see ECF Nos. 135 (Memorandum Opinion) and 136 (Order) (both

attached hereto), in which the Court granted the Motion for Preliminary Injunction filed by Dustin

Lee Honken, Daniel Lewis Lee, Wesley Ira Purkey, and Keith Nelson, and ordered “that

Defendants (along with their respective successors in office, officers, agents, servants, employees,

attorneys, and anyone acting in concert with them) are enjoined from executing Plaintiffs Daniel

Lewis Lee, Wesley Ira Purkey, Dustin Lee Honken, and Keith Dwayne Nelson until further order

of this court.” Order, ECF No. 136.




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      Case
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             1:19-mc-00145-TSCDocument
                               Document138
                                         137Filed
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Dated: July 13, 2020

Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 13, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
In the Matter of the                             )
Federal Bureau of Prisons’ Execution             )
Protocol Cases,                                  )
                                                 )
LEAD CASE: Roane, et al. v. Barr                 )       Case No. 19-mc-145 (TSC)
                                                 )
THIS DOCUMENT RELATES TO:                        )
                                                 )
Lee v. Barr, et al., 19-cv-2559                  )
                                                 )
Purkey v. Barr, et al., 19-cv-3214               )
                                                 )
Nelson v. Barr, et al., 20-cv-557                )
                                                 )

                                    MEMORANDUM OPINION

        In Callins v. Collins, Justice Blackmun, writing in dissent, declared that he would “no

longer . . . tinker with the machinery of death.” 510 U.S. 1141, 1145 (1994). More than twenty-

five years later, this court is tasked with doing just that, in addressing challenges to the manner in

which the federal government seeks to execute inmates who have been sentenced to death under

federal statutes.

        After a hiatus in federal executions of more than fifteen years, on July 25, 2019, the U.S.

Department of Justice (DOJ) announced plans to execute five inmates who had been sentenced to

death under the federal death penalty statute. 1 See Press Release, Dep’t of Justice, Federal

Government to Resume Capital Punishment After Nearly Two Decade Lapse (July 25, 2019),

https://www.justice.gov/opa/pr/federal-government-resume-capital-punishment-after-nearly-two-



1
 Plaintiffs Bourgeois, Mitchell, Lee, and Purkey were sentenced under the Federal Death
Penalty Act, 18 U.S.C. §§ 3591–3599. Plaintiff Honken was sentenced under the Anti-Drug
Abuse Act of 1988, 21 U.S.C. § 848(e).
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decade-lapse. To implement these executions, the Federal Bureau of Prisons (BOP) adopted a

new execution protocol: the 2019 Protocol. (ECF No. 39-1, Admin. R. at 1021–75.)

       On November 20, 2019, the court preliminarily enjoined the executions of four inmates:

Alfred Bourgeois, Daniel Lewis Lee, Dustin Lee Honken, and Wesley Ira Purkey. (ECF No. 50,

Mem. Op. (2019 Order), at 15.) The court found that these four Plaintiffs had demonstrated a

likelihood of success on the merits of their claims that the 2019 Protocol violates the Federal

Death Penalty Act (FDPA), but the court did not rule on their other statutory and constitutional

claims. (Id. at 13–14.) In April of this year, a divided D.C. Circuit panel vacated the preliminary

injunction. In re Fed. Bureau of Prisons’ Execution Protocol Cases, 955 F.3d 106, 113 (D.C.

Cir. 2020), cert. denied sub nom. Bourgeois v. Barr, No. 19-1348, 2020 WL 3492763 (June 29,

2020). That Court based its ruling solely on the Plaintiffs’ claims under the FDPA and the APA,

and noted that “regardless of our disposition, several claims would remain open on remand.”

Execution Protocol Cases, 955 F.3d at 113 (per curiam).

       On June 15, 2020, the DOJ and BOP scheduled new execution dates for three of the four

Plaintiffs whose executions had been preliminarily enjoined by the 2019 Order. (ECF No. 99,

Defs. Notice Regarding Execution Dates.) Defendants intend to execute Lee on July 13, 2020,

Purkey on July 15, 2020, and Honken on July 17, 2020. (Id.) Keith Dwayne Nelson is

scheduled for execution on August 28, 2020. (Id.)

       Because these four Plaintiffs are scheduled to be executed before their claims can be fully

litigated, they have asked this court, pursuant to Federal Rule of Civil Procedure 65 and Local

Rule 65.1, to preliminarily enjoin Defendants from executing them while they litigate their

remaining claims. (ECF No. 102, Pls. Mot. for Prelim. Inj.)




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       On July 2, 2020, the Seventh Circuit stayed Purkey’s execution, and at the time of this

filing, that stay remains in place. 2 Purkey v. United States, No. 19-3318, 2020 WL 3603779 (7th

Cir. July 2, 2020). On July 10, 2020, the Southern District of Indiana preliminarily enjoined

Lee’s execution, see Peterson v. Barr, No. 2:20-cv-350 (S.D. Ind. July 10, 2020), ECF No. 21,

but on July 12, 2020, the Seventh Circuit vacated the injunction. See Peterson v. Barr, No. 20-

2252 (7th Cir. July 12, 2020).

       The last-minute nature of this ruling is unfortunate, but no fault of the Plaintiffs. Cf.

Bucklew v. Precythe, 139 S. Ct. 112, 1134 (2019) (“the last-minute nature of an application that

could have been brought earlier . . . may be grounds for denial of a stay.”) (internal quotations

omitted). The succession of last-minute rulings is the result of the Government’s decision to set

short execution dates even as many claims, including those addressed here, were pending. 3 The

Government is entitled to choose dates, but the court cannot take short cuts in its obligations in

order to accommodate those dates. As the Seventh Circuit wrote last week, “just because the

death penalty is involved is no reason to take shortcuts—indeed, it is a reason not to do so.”

Purkey v. United States, 2020 WL 3603779, at *11.

                                     I.   BACKGROUND

       The Eighth Amendment to the Constitution provides that “excessive bail shall not be

required, nor excessive fines imposed, nor cruel and unusual punishments inflicted.” U.S.




2
 Because the Seventh Circuit affirmed the district court’s denial of Purkey’s petition for writ of
habeas corpus, and only temporarily stayed his execution “pending the completion of
proceedings in the Seventh Circuit,” this court finds it appropriate to preliminarily enjoin his
execution as well as those of the other Plaintiffs. Id. at *11.
3
 Three Plaintiffs filed complaints shortly after the DOJ announced the 2019 Protocol, months
before their initially scheduled executions, and Nelson filed his complaint before Defendants
even announced his execution date.
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CONST. amend. VIII. The Supreme Court declared capital punishment constitutional in 1976,

in Gregg v. Georgia. 428 U.S. 153, 187 (1976) (lifting a de facto moratorium on the death

penalty). Therefore, “there must be a constitutional means of carrying it out.” Glossip v. Gross,

135 S. Ct. 2726, 2732–33 (2015) (citation omitted). Balancing the constitutional legitimacy of

capital punishment with the Eighth Amendment’s prohibition on cruel and unusual methods of

execution has long been the subject of intense debate and litigation since the advent of hanging,

electrocution, and, most recently, lethal injection. Baze v. Rees, 553 U.S. 35, 41–42 (2008).

       The Supreme Court first addressed the application of the Eighth Amendment to lethal

injection in Baze, upholding Kentucky’s then-practice of execution by injection with a three-drug

combination: (1) sodium thiopental, a fast-acting barbiturate sedative; (2) pancuronium bromide,

a paralytic agent that paralyzes the body and stops the lungs; and (3) potassium chloride, which

induces cardiac arrest. Id. at 44. The plaintiffs in that case conceded that, if administered

properly, the three drugs in combination eliminated any “meaningful risk” that the inmate would

experience severe pain but argued that the risk of improper administration was so significant that

the protocol violated the Eighth Amendment. Id. at 49.

       Although the Court upheld Kentucky’s use of the three-drug injection in Baze, state

methods have changed in recent years. Many of the companies that manufacture drugs such as

sodium thiopental have either ceased production or declined to sell them to states for use in

executions. Glossip, 135 S. Ct. at 2733. Some states have sought to maintain their three-drug

protocols while replacing sodium thiopental with sedatives such as propofol, pentobarbital

sodium, and midazolam, the latter of which was upheld by the Supreme Court in Glossip. Id. at

2731. Other states have opted to conduct executions with a single-drug protocol consisting of a

lethal dose of a single sedative. Bucklew v. Precythe, 139 S. Ct. 1112, 1120 (2019).



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       The federal government has likewise changed its execution protocol. In 2005, three

federal death row inmates sued, alleging that their executions were to be administered under an

unlawful and unconstitutional execution protocol. Roane v. Gonzales, 1:05-cv-02337 (D.D.C.),

ECF No. 1 ¶ 2. The court preliminarily enjoined their executions. Roane, ECF No. 5. Four

other death row inmates intervened, and their executions were enjoined as well. See Roane, ECF

Nos. 23, 27, 36, 38, 67, and 68. During this litigation, the government produced a 50-page

document (2004 Main Protocol) outlining BOP execution procedures. Roane, ECF No. 179-3.

The government then produced two three-page addenda to the 2004 Main Protocol. See Roane,

ECF No. 177-3 (Addendum to Protocol, July 1, 2007) (the 2007 Addendum); ECF No. 177-1

(Addendum to Protocol, Aug. 1, 2008) (the 2008 Addendum). In 2011 the DOJ announced that

the BOP did not have the drugs it needed to implement the 2008 Addendum. See Letter from

Office of Attorney General to National Association of Attorneys General, (Mar. 4, 2011),

https://files.deathpenaltyinfo.org/legacy/documents/2011.03.04.holder.letter.pdf. The

government informed the court that the BOP “has decided to modify its lethal injection protocol

but the protocol revisions have not yet been finalized.” Roane, ECF No. 288 at 2. In response,

the court stayed the Roane litigation.

       No further action was taken in the cases for over seven years. On July 24, 2019, the DOJ

announced a new addendum to the execution protocol, (Admin. R. at 874–78), replacing the

three-drug protocol of the 2008 Addendum with a single drug: pentobarbital sodium. (Id. at

879–80.) The BOP also adopted a new protocol to replace the 2004 Main Protocol. (Id. at

1021–72.) The 2019 Protocol provides for three injections, the first two containing 2.5 grams of

pentobarbital in 50 milliliters of diluent each, and the third containing 60 milliliters of a saline

flush. (Id. at 880.) The 2019 Protocol makes no reference to the form or source of the drug, or



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measures of quality control, and its description of the intravenous administration of the drug

simply provides that the Director or designee “shall determine the method of venous access” and

that “[i]f peripheral venous access is utilized, two separate lines shall be inserted in separate

locations and determined to be patent by qualified personnel.” (Id.)

       Following this announcement, the court held a status conference in Roane on August 15,

2019. (See Minute Entry, Aug. 15, 2019.) In addition to the Roane plaintiffs, the court heard

from counsel for three other death row inmates, all of whom cited the need for additional

discovery on the new protocol. (See ECF No. 12, Status Hr’g Tr.) The government indicated

that it was unwilling to stay the executions, and the court bifurcated discovery and ordered

Plaintiffs to complete 30(b)(6) depositions by February 28, 2020, and to file amended complaints

by March 31, 2020. (See Minute Entry, Aug. 15, 2019.)

       Four inmates with scheduled execution dates filed complaints or motions to intervene in

the Roane action challenging the 2019 Protocol, and they each subsequently moved to

preliminarily enjoin their executions. 4 On November 20, 2019, the court granted the four

Plaintiffs’ motions for preliminary injunction, finding that they had demonstrated a likelihood of

success on their claims that the 2019 Protocol exceeds statutory authority. (Mem. Op. at 13, 15.)

The court did not rule on Plaintiffs’ other claims, including that the 2019 Protocol is arbitrary

and capricious under the Administrative Procedure Act (APA), that it violates the Food, Drug,



4
  Lee filed his complaint on August 23, 2019 (see Lee v. Barr, 1:19-cv-02559 (D.D.C.), ECF No.
1), and his motion for a preliminary injunction on September 27, 2019. (ECF No. 13, Lee Mot.
for Prelim. Inj.) On August 29, 2019, Bourgeois moved to preliminarily enjoin his execution.
(ECF No. 2, Bourgeois Mot. for Prelim. Inj.) Honken filed an unopposed motion to intervene in
Lee v. Barr, which was granted. (ECF No. 26, Honken Mot. to Intervene.) He then moved for a
preliminary injunction on November 5, 2019. (ECF No. 29, Honken Mot. for Prelim. Inj.)
Purkey filed a complaint and a motion for a preliminary injunction under a separate case number,
1:19-cv-03214, which was consolidated with Roane. (ECF No. 34, Purkey Mot. for Prelim. Inj.)

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and Cosmetic Act (FDCA) and the Controlled Substances Act (CSA), that it violates Plaintiffs’

right to counsel in violation of the First, Fifth, and Sixth Amendments, and that it is cruel and

unusual in violation of the Eighth Amendment. (Id. at 13.) Following the court’s order, three

additional death row inmates filed complaints under separate case numbers, which in turn were

consolidated with Roane. 5 Defendants moved to stay the court’s preliminary injunction, which

the court denied. (See Minute Order, Nov. 22, 2019.) The D.C. Circuit likewise denied

Defendants’ motion to stay, In re Fed. Bureau of Prisons’ Execution Protocol Cases, No. 19-

5322 (D.C. Cir. Dec. 2, 2019), as did the United States Supreme Court on December 6, 2019.

Barr v. Roane, 140 S. Ct. 353 (2019). However, three Justices issued a statement indicating their

belief that Defendants were likely to prevail on the merits. Id.

       Defendants also filed an interlocutory appeal of the court’s 2019 Order on November 21,

2019. (See ECF No. 52.) On April 7, 2020, the D.C. Circuit reversed. Execution Protocol

Cases, 955 F.3d at 108. Neither of the two judges on the panel who voted to reverse agreed on

the FDPA’s statutory requirements. Id. at 112 (per curiam). Nonetheless, they agreed that

Plaintiffs were unlikely to prevail on the merits of their claims that the 2019 Protocol exceeds

statutory authority. Id. The panel expressly declined to rule on Plaintiffs’ remaining statutory

and constitutional claims, as “the government did not seek immediate resolution of all the

plaintiffs’ claims” and the claims “were neither addressed by the district court nor fully briefed

in this Court.” Id. at 113. The Court of Appeals denied Plaintiffs’ petition for rehearing en banc

on May 15, 2020, and the Supreme Court denied Plaintiffs’ application for a stay of the mandate

and petition for a writ of certiorari on June 29, 2020. Bourgeois, 2020 WL 3492763.




5
 These plaintiffs are Norris G. Holder, Jr., 1:19-cv-3520; Brandon Bernard, 1:20-cv-474; and
Keith Dwayne Nelson, 1:20-cv-557.
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Meanwhile, Plaintiffs filed their Amended Complaint on June 1, 2020, (ECF No. 90, Am.

Compl.), the same day Holder filed a separate supplemental complaint. (ECF No. 94, Holder

Compl.)

        On June 15, 2020, the DOJ announced new execution dates for Plaintiffs. (Defs. Notice

Regarding Execution Dates.) Four days later, Plaintiffs filed a joint motion for a preliminary

injunction on the basis of their unresolved claims. (Pls. Mot. for Prelim. Inj.) Plaintiffs thus ask

the court to preliminarily enjoin Defendants from executing Lee, Purkey, Honken, and Nelson

while they litigate their claims.

                                        II.    ANALYSIS

        The court’s 2019 Order sets forth the legal standard for considering a motion for a

preliminary injunction, which is an “extraordinary remedy” requiring courts to assess four

factors: (1) the likelihood of the plaintiff’s success on the merits, (2) the threat of irreparable

harm to the plaintiff absent an injunction, (3) the balance of equities, and (4) the public interest.

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20, 24 (2008) (citations omitted); John Doe

Co. v. Consumer Fin. Prot. Bureau, 849 F.3d 1129, 1131 (D.C. Cir. 2017). The D.C. Circuit has

traditionally evaluated claims for injunctive relief on a sliding scale, such that “a strong showing

on one factor could make up for a weaker showing on another.” Sherley v. Sebelius, 644 F.3d

388, 392 (D.C. Cir. 2011). It has been suggested, however, that a movant’s showing regarding

success on the merits “is an independent, free-standing requirement for a preliminary

injunction.” Id. at 393 (quoting Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1296

(D.C. Cir. 2009) (Kavanaugh, J., concurring)).




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       A.      Likelihood of Success on the Merits of Plaintiffs’ Eighth Amendment Claims

       Plaintiffs bringing an Eighth Amendment challenge to the method of execution face a

high bar. They must demonstrate that the 2019 Protocol presents a “substantial risk of serious

harm,” and they must identify an alternative method of execution that will significantly reduce

the risk of serious pain and that is feasible and readily implemented. Glossip, 135 S. Ct. at 2737;

see also Bucklew, 139 S. Ct. at 1129 (confirming that “anyone bringing a method of execution

claim alleging the infliction of unconstitutionally cruel pain must meet the Baze-Glossip test.”).

               1.      Substantial Risk of Serious Harm

       It is not enough for Plaintiffs to argue that Defendants’ planned use of pentobarbital will

potentially cause pain. “[B]ecause some risk of pain is inherent in any method of execution, we

have held that the Constitution does not require the avoidance of all risk of pain.” Glossip, 135

S. Ct. at 2733. For the 2019 Protocol to constitute cruel and unusual punishment in violation of

the Eighth Amendment, Plaintiffs must show that it presents a risk of severe pain that is “sure or

very likely to cause serious illness and needless suffering” and gives rise to “sufficiently

imminent dangers,” such that prison officials cannot later plead “that they were subjectively

blameless.” Baze, 553 U.S. at 49–50 (citations omitted). Although the Supreme Court has

cautioned against federal courts becoming “boards of inquiry charged with determining ‘best

practices’ for executions,” id. at 51, this question necessarily requires some weighing of

scientific evidence. See, e.g., Glossip, 135 S. Ct. at 2739 (affirming district court’s findings that

midazolam was “highly likely” to render inmates unable to feel pain during execution).

       The scientific evidence before the court overwhelmingly indicates that the 2019 Protocol

is very likely to cause Plaintiffs extreme pain and needless suffering during their executions.

The declarations submitted by Plaintiffs’ experts illustrate that the majority of inmates executed



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via pentobarbital injection suffered flash pulmonary edema during the procedure. (See ECF No.

26-12, Expert Decl. of Mark Edgar, ¶ 74; ECF No. 24, Expert Decl. of Gail Van Norman,

Autopsy Findings, at 85.) Pulmonary edema, which interferes with breathing, “produces

sensations of drowning and asphyxiation” resulting in “extreme pain, terror and panic.” (Edgar

Decl., ¶¶ 78–80.)

       Eyewitness accounts of executions using pentobarbital describe inmates repeatedly

gasping for breath or showing other signs of respiratory distress, and indicate that flash

pulmonary edema is common and extremely painful. (Id.) Dr. Gail Van Norman concluded that

it is a “virtual medical certainty that most, if not all, prisoners will experience excruciating

suffering, including sensations of drowning and suffocation” during an execution conducted in

accordance with the 2019 Protocol. (Van Norman Decl. ¶ 18.)

       Defendants urge the court to disregard these findings. They first contend that the

Supreme Court has already upheld similar methods of execution, and that the pain associated

with pulmonary edema is not severe enough to render the 2019 Protocol unconstitutional. (See

ECF No. 113-1, Defs. Opp. to Pls. Mot., at 22–25.) But the cases upon which Defendants rely

are inapposite. Neither Baze nor Glossip involved a single-drug protocol or the use of

pentobarbital, and the fact that some plaintiffs in those and other cases suggested that

pentobarbital would be a constitutional alternative does not invalidate the expert testimony

before the court, which indicates otherwise. Glossip, 135 S. Ct. at 2738; Baze, 553 U.S. at 56–

57. Bucklew did involve a challenge to pentobarbital, but one unique to that plaintiff’s medical

condition—he argued that vascular tumors caused by his cavernous hemangioma would prevent

the pentobarbital from working as intended, and thus brought an as-applied challenge to a

procedure that he conceded was “constitutional in most applications.” 139 S. Ct. at 1118, 1120.



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Plaintiffs, of course, concede no such thing, and in fact allege the opposite. (See Pls. Mot. for

Prelim. Inj. at 34.)

        Defendants also urge the court to follow the Sixth Circuit’s recent decision, In re Ohio

Execution Protocol Litigation, which rejected an Eighth Amendment claim based on the risk of

pulmonary edema during execution, and which Plaintiffs claim misinterpreted Bucklew. 946

F.3d 287 (6th Cir. 2019), (Pls. Mot. for Prelim. Inj. at 35 n.12.) Defendants initially relied on the

Sixth Circuit’s holding that “neither pulmonary edema nor the symptoms associated with it

qualify as the type of serious pain prohibited by the Eighth Amendment,” but after the first round

of briefing in this case last year, the Sixth Circuit issued an amending and superseding opinion

omitting this language. Compare 937 F.3d 759, 762 (6th Cir. 2019), with 946 F.3d at 290.

Although the Sixth Circuit’s amended opinion does suggest that the risk of pain associated with

sensations of drowning and suffocation is akin to that of hanging, it does not reach a conclusion

as to whether pulmonary edema can result in pain that is so severe as to violate the Eighth

Amendment. 946 F.3d at 290.

        In any event, this case is factually distinct from Ohio Execution Protocol. That case not

only involved a different execution protocol using a different drug—a three-drug protocol

employing midazolam as the first drug rather than a one-drug protocol relying exclusively on

pentobarbital—but it held that the plaintiff had failed to provide “evidence showing that a person

deeply sedated by a 500 milligram dose of midazolam is still ‘sure or very likely’ to experience

an unconstitutionally high level of pain.” Id. Here, Plaintiffs have amassed an extensive factual

record, and their experts have concluded that there is a “virtual medical certainty” that the 2019

Protocol will result in “excruciating suffering.” (Van Norman Decl. at 7.)




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       Defendants do not contest Plaintiffs’ evidence that the majority of individuals executed

via pentobarbital suffer flash pulmonary edema, but they have submitted expert testimony

arguing that the pulmonary edema occurs either post-mortem or after the inmate has been

rendered insensate. (See Defs. Opp. to Pls. Mot. at 12–13; ECF No. 111-4, Expert Decl. of

Joseph Antognini, ¶ 8.) Thus, the question of whether the 2019 Protocol is significantly likely to

cause serious pain turns on the narrower question of whether the pentobarbital is likely to render

inmates insensate or dead before they experience the symptoms of pulmonary edema.

       Plaintiffs have the better of the scientific evidence on this question. Dr. Van Norman

demonstrates that flash pulmonary edema can only occur in still-living subjects, and that it

develops “almost instantaneously” following injection. (ECF No. 117-1, Supp. Decl. of Gail

Van Norman, ¶¶ 19–24.) Defendants argue that Plaintiffs concede that pentobarbital renders

patients insensate very rapidly, (Defs. Opp. to Pls. Mot. at 12), but the evidence indicates no such

concession. Dr. Van Norman specifically states that barbiturates like pentobarbital render

patients “unresponsive” but still conscious and capable of experiencing the severe pain

associated with flash pulmonary edema. (Van Norman Supp. Decl. ¶¶ 10–13, 21.) While Dr.

Antognini disputes these findings, he does not undermine them. (See ECF No. 122-2, Supp.

Decl. of Joseph Antognini, ¶¶ 20–23.) Dr. Van Norman’s conclusion is also supported by

eyewitness accounts of previous executions using pentobarbital, in which inmates visibly gasped

for breath, and autopsies that revealed “foam or froth” in the inmates’ airways, a phenomenon

that occurs when the edema fluid mixes with air while the inmate is still attempting to breathe.

(See, e.g., Edgar Decl. ¶¶ 78–79.)

       While it is difficult to weigh competing scientific evidence at this relatively early stage,

the factual record indicates that Plaintiffs are likely to succeed on the merits of their claims that



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the 2019 Protocol poses a substantial risk of serious pain. They have thus met the first prong of

their burden on their Eighth Amendment claims.

               2.      Known and Available Alternatives

        Plaintiffs argue that several alternative methods of execution will significantly reduce the

substantial risk of serious pain. (Pls. Mot. for Prelim. Inj. at 36–40.)

        Procedural safeguards. Plaintiffs claim Defendants could implement a number of

procedural safeguards, including (1) requiring the use of two functioning peripheral IV lines and

placing limits on the use of a central line, (2) administering the lethal-injection protocol bedside,

and (3) implementing additional procedures to respond to unexpected occurrences. (Id. at 37–

39.)

        Defendants correctly characterize these proposals as mere “failsafes” that do not render

the planned method of execution unconstitutional. Baze, 553 U.S. at 60–61. Plaintiffs’ proposal

regarding the placement of IV lines is the type of “slightly or marginally safer alternative” that

the Supreme Court has previously rejected. Id. at 51. Moreover, the vague suggestion of adding

procedures to better respond to problems that may arise during the execution seems aimed at an

“isolated mishap,” rather than the substantial risk of serious pain from the use of pentobarbital.

See id. at 50. The alleged benefits of bedside administration of pentobarbital are likewise aimed

at reducing the risk of maladministration. (See Pls. Mot. for Prelim. Inj., at 38–39.) In sum, it

appears likely that implementing these measures would result in a “minor reduction in risk” at

best. Bucklew, 139 S. Ct. at 1130.

        Pre-dose of opioid pain or anti-anxiety medication. Plaintiffs have demonstrated that a

pre-dose of certain opioid pain medication drugs, such as morphine or fentanyl, will significantly

reduce the risk of severe pain during the execution. (Pls. Mot. for Prelim. Inj. at 36–37; ECF No.



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25, Expert Decl. of Craig Stevens, ¶¶ 15–16.) Defendants argue that this proposal lacks

sufficient detail, that no state currently uses analgesics in its execution procedures, and that

pentobarbital alone is sufficiently painless. (Defs. Opp. to Pls. Mot. at 32.)

        This court has already found that pentobarbital alone poses an unconstitutionally

significant risk of serious pain, and it finds Defendants’ remaining arguments to be unavailing.

While Bucklew emphasized that a proposed alternative method of execution must be not just

“theoretically feasible but also readily implemented,” this simply means that the proposal must

be “sufficiently detailed to permit a finding that the State could carry it out relatively easily and

reasonably quickly.” 139 S. Ct. at 1129 (internal quotation marks omitted). See also id. at 1128

(noting that the burden of identifying an alternative means of execution “can be overstated.”).

The class of medications identified by Plaintiffs, and the proposed dosage of morphine and

fentanyl more specifically, meet this standard. (Stevens Decl. ¶¶ 7–16.)

        The fact that other states have not adopted Plaintiffs’ proposed method of using pain

medication is also not dispositive. See Bucklew, 139 S. Ct. at 1136 (Kavanaugh, J., concurring)

(“I write to underscore the Court’s additional holding that the alternative method of execution

need not be authorized under current state law. . . . Importantly, all nine Justices today agree on

that point.”).

        Defendants argue that as in Bucklew and Baze, Plaintiffs’ proposed alternative has “no

track record of successful use,” id. at 1130, and is “untried and untested.” Baze, 553 U.S. at 41.

But this case presents a different scenario. In Bucklew, the plaintiff proposed execution by

nitrogen hypoxia, but even after “extensive discovery,” he provided only a “bare-bones”

proposal premised on “unsupported, if not affirmatively contradicted” assertions regarding its

effectiveness. 139 S. Ct. at 1121, 1129–30. In Baze, the plaintiff’s proposal of a one-drug



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protocol was offered “without any findings on [its] effectiveness” and relied heavily on

comparisons to animal euthanasia. 553 U.S. at 56–58. Here, Plaintiffs’ proposal is simpler, and

is supported by substantial scientific evidence of its effectiveness in non-lethal human treatment.

Moreover, the parties agree that Nebraska recently used a pre-dose of fentanyl for the precise

purpose of reducing the risk of serious pain during an execution. In sum, Plaintiffs have not

proposed a complex medical procedure, lacking in detail and possibly requiring years of further

research, but a simple addition to the execution procedure that is likely to be as effective as it is

easily and quickly administered. See Bucklew, 139 S. Ct. at 1129.

       Finally, Defendants contend that the BOP already considered and rejected using fentanyl

in executions, in part due to speculation that manufacturers would refuse to supply it. (Defs.

Opp. to Pls. Mot. at 32.) Although Defendants do not make the same argument regarding the

availability of morphine, it is true that the government cannot be faulted for failing to use a drug

it has been unable to obtain through good-faith efforts. Glossip, 135 S. Ct. at 2738. But

Defendants have provided no evidence of such efforts; they merely assert that manufacturers

would “most likely” resist efforts to use fentanyl in executions. (Admin. R. at 869.) This is a far

cry from showing that they are unable to procure fentanyl for Plaintiffs’ executions.

       Firing squad. Alternatively, Plaintiffs proffer execution by firing squad. (Pls. Mot. for

Prelim. Inj. at 39–40.) Because that method of execution is feasible, readily implemented, and

would significantly reduce the risk of severe pain, it satisfies the Blaze-Glossip requirements for

proposed alternatives. Execution by firing squad is currently legal in three states, Utah,

Oklahoma, and Mississippi, and can hardly be described as “untried” or “untested” given its

historical use as a “traditionally accepted method of execution.” Bucklew, 139 S. Ct. at 1125.




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Furthermore, the last execution by firing squad in the United States occurred just over a decade

ago, on June 18, 2010, in Utah.

       Both the historical use of firing squads in executions and more recent evidence suggest

that, in comparison to the 2019 Protocol, execution by firing squad would significantly reduce

the risk of severe pain. See, e.g., Deborah Denno, Is Electrocution an Unconstitutional Method

of Execution? The Engineering of Death Over the Century, 35 Wm. & Mary L. Rev. 551, 688

(1994) (“A competently performed shooting may cause nearly instant death”); Austin Sarat,

Gruesome Spectacles: Botched Executions and America’s Death Penalty 117, App. A. (2014)

(calculating that, of all executions conducted since 1900, executions by firing squad had the

lowest rate of “botched” executions—zero out of thirty-four—of any method).

       Defendants point to several cases from other Circuits in which courts appeared skeptical

of these conclusions. (Defs. Opp. to Pls. Mot. at 34–35.) Again, however, they overlook the

Supreme Court’s guidance in Bucklew that a plaintiff’s burden in identifying an alternative

method of execution “can be overstated” and that there is “little likelihood that an inmate facing

a serious risk of pain will be unable to identify an available alternative.” 139 S. Ct. at 1128–29.

Indeed, members of the Court, including at least one Justice in the Bucklew majority, have

opined that the firing squad may be an immediate and sufficiently painless method of execution.

See, e.g., id. at 1136 (Kavanaugh, J., concurring); Arthur v. Dunn, 137 S. Ct. 725, 734 (2017)

(Sotomayor, J., dissenting from denial of cert.) (“In addition to being near instant, death by

shooting may also be comparatively painless.”). Moreover, given that use of the firing squad is

“well established in military practice,” Baze, 553 U.S. at 102 (Thomas, J., concurring),

Defendants are, if anything, more capable than state governments of finding “trained marksmen




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who are willing to participate,” and who possess the skill necessary to ensure death is near-

instant and comparatively painless. McGehee v. Hutchinson, 854 F.3d 488, 494 (8th Cir. 2017).

       Defendants also argue that execution by firing squad is not a “readily available” method

of execution. It is true that, compared to the relative ease with which opioids could be added to

the existing execution protocol, execution by firing squad would mean a complete transformation

of the government’s method of execution. Therefore, Defendants argue, the court should defer

to the government’s “legitimate reasons” for choosing not to adopt the firing squad as a method

of execution—that legitimate reason being that the firing squad is so rarely used. (Defs. Opp. to

Pls. Mot. at 36.)

       Defendants’ logic is somewhat circular. See, e.g., Arthur, 137 S. Ct. at 729 (Sotomayor,

J., dissenting from denial of cert.) (reasoning that allowing a state to conduct an unconstitutional

execution simply because it declines to authorize any alternative “cannot be right”). See also

Bucklew, 139 S. Ct. at 1128 (“The Eighth Amendment is the supreme law of the land, and the

comparative assessment it requires can’t be controlled by the State’s choice of which methods to

authorize in its statutes.”). Indeed, Defendants’ argument implicitly asks the court to follow the

Eleventh Circuit’s holding that a proposed alternative method of execution must be authorized

by law. Arthur v. Comm’r, Ala. Dep’t of Corr., 840 F.3d 1268, 1317–18 (11th Cir. 2016). Yet

the Eleventh Circuit acknowledged last year that Bucklew “demonstrates our conclusion in

Arthur was incorrect.” Price v. Comm’r, Ala. Dep’t of Corr., 920 F.3d 1317, 1326 (11th Cir.

2019), cert. denied sub nom. Price v. Dunn, 139 S. Ct. 1542 (2019).

       The court declines to opine on whether the firing squad would be an acceptable

alternative method of execution in every case. However, it finds that Defendants could readily

adopt Plaintiffs’ proposal. Even if Bucklew is read as requiring Plaintiffs to plead a method of



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execution that is currently authorized by at least one state, the firing squad is currently authorized

by three states and was used relatively recently in one. More importantly, the federal

government is uniquely capable of consulting with Utah and adopting its existing protocol.

Defendants’ final argument is that Plaintiffs’ stated preference for execution by firing squad is

insincere. (Defs. Opp. to Pls. Mot. at 37.) But the court notes that Plaintiffs have argued for it at

length, and have adequately shown that it is readily implemented, available, and would

significantly reduce the risk of severe pain. Cf. Bucklew, 139 S. Ct. at 1136 (Kavanaugh, J.,

concurring) (rejecting possibility of execution by firing squad where the plaintiff had chosen not

to plead it as an alternative).

        Plaintiffs have identified two available and readily implementable alternative methods of

execution that would significantly reduce the risk of serious pain: a pre-dose of opioid pain or

anti-anxiety medication, or execution by firing squad. Thus, they have established a likelihood

of success on the merits of their claims that the 2019 Protocol’s method of execution constitutes

cruel and unusual punishment in violation of the Eighth Amendment. Given this finding, the

court need not reach Plaintiffs’ other remaining claims. 6




6
  The court is mindful of the prudential rule that when a case can be decided on purely statutory
grounds, courts should avoid constitutional questions. See Ashwander v. Tenn. Valley Auth., 297
U.S. 288, 347 (1936) (Brandeis, J., concurring). But this “is a rule of prudence, not an absolute
command.” Int’l Refugee Assistance Project v. Trump, 883 F.3d 233, 351 (4th Cir. 2018)
(Harris, J., concurring) (citations omitted), vacated on other grounds, 138 S. Ct. 2710 (2018); see
also Trump v. Hawaii, 138 S. Ct. 2392, 2434 (2018) (Sotomayor, J., dissenting) (“That rule of
thumb is far from categorical, and it has limited application where, as here, the constitutional
question proves far simpler than the statutory one.”). Plaintiffs’ remaining statutory claims raise
novel and complex questions that, as Defendants themselves note repeatedly, could result in far-
reaching and unpredictable consequences. In contrast, Plaintiffs’ Eighth Amendment claims
require the court to preliminarily enjoin the 2019 Protocol for the “more fundamental reason”
that it creates an unconstitutionally significant risk of serious pain. Id.
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          B.     Irreparable Harm

          The court’s analysis of irreparable harm is unchanged from its 2019 Order. In order to

prevail on a request for preliminary injunction, irreparable harm “must be certain and great,

actual and not theoretical, and so imminent that there is a clear and present need for equitable

relief to prevent irreparable harm,” and it “must be beyond remediation.” League of Women

Voters of U.S. v. Newby, 838 F.3d 1, 7–8 (D.C. Cir. 2016) (citing Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)) (internal quotation marks and

brackets omitted). Here, without injunctive relief, Plaintiffs would be unable to pursue their

remaining claims, including the claims that the method of planned execution under the 2019

Protocol is cruel and unusual in violation of the Eighth Amendment, and would therefore be

executed under a procedure likely to be unconstitutional. This harm is manifestly irreparable.

          Other courts in this Circuit have found irreparable harm in similar, but less dire

circumstances. See, e.g., Damus v. Nielsen, 313 F. Supp. 3d 317, 342 (D.D.C. 2018) (finding

irreparable injury where plaintiffs faced detention under challenged regulations); Stellar IT Sols.,

Inc. v. USCIS, No. 18-2015 (RC), 2018 WL 6047413, at *11 (D.D.C. Nov. 19, 2018) (finding

irreparable injury where plaintiff would be forced to leave the country under challenged

regulations); FBME Bank Ltd. v. Lew, 125 F. Supp. 3d 109, 126–27 (D.D.C. 2015) (finding

irreparable injury where challenged regulations would threaten company’s existence); N.

Mariana Islands v. United States, 686 F. Supp. 2d 7, 19 (D.D.C. 2009) (finding irreparable

injury where challenged regulations would limit guest workers). No member of the D.C. Circuit

panel on appeal challenged the court’s finding in its 2019 Order that Plaintiffs would suffer

irreparable harm absent preliminary relief, and Defendants do not dispute that irreparable harm is

likely.



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        Based on the record before it, the court finds that Plaintiffs have shown that absent

injunctive relief, they will suffer the irreparable harm of being executed under a likely

unconstitutional procedure before their claims can be fully adjudicated.

        C.      Balance of Equities

        Defendants argue that if the court preliminarily enjoins the 2019 Protocol, they will suffer

the harm of having to delay the scheduled execution dates. (See Defs. Opp. to Pls. Mot. at 57.)

The government’s interest in the finality of criminal proceedings, including capital cases, is

compelling. Calderon v. Thompson, 523 U.S. 538, 556 (1998). On the other hand, the fact that

the government waited eight years to establish a new protocol undermines its arguments

regarding the urgency and weight of that interest. The government may have had valid reasons

to proceed with caution, but it can hardly now claim that any further delay would cause it

substantial harm. The court notes that while almost eight months have passed since its 2019

Order, Plaintiffs still have not been afforded sufficient opportunity to evaluate the 2019

Protocol—it was Defendants who initially declined to stay Plaintiffs’ executions to allow

discovery on the Protocol. (Status Hr’g Tr. at 6, 10–11.)

        Indeed, where the Supreme Court has been sympathetic to the government’s need for

finality in capital cases, it has generally been in cases where plaintiffs waited until the last

minute to bring claims that could have been brought earlier, or engaged in a clear “attempt at

manipulation” of the judicial process. Bucklew, 139 S. Ct. at 1134 (quoting Hill v. McDonough,

547 U.S. 573, 584 (2006)). Here, however, three of the four Plaintiffs filed their complaints

shortly after the DOJ announced the 2019 Protocol, months before their initially scheduled

executions, and Nelson filed his complaint before Defendants even announced his execution




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date. Plaintiffs are not raising new claims that they could have brought in their initial

complaints, but rather renewing the Eighth Amendment arguments made in their initial motions.

       Given this background, the court finds that the potential harm to the government caused

by a delayed execution is not substantial, and is outweighed by the irreparable harm Plaintiffs

would face absent an injunction. 7

       D.      Public Interest

       As noted in the court’s 2019 Order, the public interest is not served by executing

individuals before they have had the opportunity to avail themselves of the legal process to

challenge the legality of their executions. “Applying the law in a way that violates the

Constitution is never in the public’s interest.” Minney v. United States Office of Pers. Mgmt.,

130 F. Supp. 3d 225, 236 (D.D.C. 2015) (emphasis in original). See also Purkey v. United

States, 2020 WL 3603779, at *11 (“Just because the death penalty is involved is no reason to

take shortcuts—indeed, it is a reason not to do so.”); Cooey v. Taft, 430 F. Supp. 2d 702, 708

(S.D. Ohio 2006) (“The public interest has never been and could never be served by rushing to

judgment at the expense of a condemned inmate’s constitutional rights.”); Harris v. Johnson, 323

F. Supp. 2d 797, 810 (S.D. Tex. 2004) (“Confidence in the humane application of the governing

laws . . . must be in the public’s interest.”). Accordingly, the court finds that the public interest

is served by preliminarily enjoining Plaintiffs’ executions because it will allow judicial review of

whether the United States Government’s planned execution protocol complies with the Eighth

Amendment, and to ensure that it does so in the future.



7
 In his separate Opinion, Judge Katsas found that this was a case in which the balance of
equities favored the government. Execution Protocol Cases, 955 F.3d at 126 (Katsas, J.,
concurring). However, he noted that this was partly because the claims then before the Court
presented no “colorable dispute that pentobarbital will cause anything but a swift and painless
death.” Id. at 128–29. Plaintiffs’ Eighth Amendment claims now raise precisely this dispute.
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                                    III.    CONCLUSION

       The court finds that at least one of Plaintiffs’ claims has a likelihood of success on the

merits, and that absent a preliminary injunction, Plaintiffs will suffer irreparable harm. It further

finds that the likely harm that Plaintiffs would suffer if the court does not grant injunctive relief

far outweighs any potential harm to Defendants. Finally, because the public is not served by

short-circuiting legitimate judicial process, and is greatly served by attempting to ensure that the

most serious punishment is imposed in a manner consistent with our Constitution, the court finds

that it is in the public interest to issue a preliminary injunction. Accordingly, having reviewed

the parties’ filings, the record, and the relevant case law, and for the reasons set forth above, the

court will GRANT Plaintiffs’ Motion for a Preliminary Injunction. A corresponding order will

be issued simultaneously.



Date: July 13, 2020


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

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In the Matter of the                           )
Federal Bureau of Prisons’ Execution           )
Protocol Cases,                                )
                                               )
LEAD CASE: Roane, et al. v. Barr               )       Case No. 19-mc-145 (TSC)
                                               )
THIS DOCUMENT RELATES TO:                      )
                                               )
Lee v. Barr, et al., 19-cv-2559                )
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Purkey v. Barr, et al., 19-cv-3214             )
                                               )
Nelson v. Barr, et al., 20-cv-557              )
                                               )

                                            ORDER

        For the reasons set forth in the accompanying Memorandum Opinion, the court hereby

GRANTS Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 102).

        It is hereby ORDERED that Defendants (along with their respective successors in office,

officers, agents, servants, employees, attorneys, and anyone acting in concert with them) are

enjoined from executing Plaintiffs Daniel Lewis Lee, Wesley Ira Purkey, Dustin Lee Honken,

and Keith Dwayne Nelson until further order of this court.



Date: July 13, 2020


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 )
In the Matter of the                             )
Federal Bureau of Prisons’ Execution             )
Protocol Cases,                                  )
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LEAD CASE: Roane, et al. v. Barr                 )       Case No. 19-mc-145 (TSC)
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THIS DOCUMENT RELATES TO:                        )
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Lee v. Barr, et al., 19-cv-2559                  )
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Purkey v. Barr, et al., 19-cv-3214               )
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Nelson v. Barr, et al., 20-cv-557                )
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                                    MEMORANDUM OPINION

        In Callins v. Collins, Justice Blackmun, writing in dissent, declared that he would “no

longer . . . tinker with the machinery of death.” 510 U.S. 1141, 1145 (1994). More than twenty-

five years later, this court is tasked with doing just that, in addressing challenges to the manner in

which the federal government seeks to execute inmates who have been sentenced to death under

federal statutes.

        After a hiatus in federal executions of more than fifteen years, on July 25, 2019, the U.S.

Department of Justice (DOJ) announced plans to execute five inmates who had been sentenced to

death under the federal death penalty statute. 1 See Press Release, Dep’t of Justice, Federal

Government to Resume Capital Punishment After Nearly Two Decade Lapse (July 25, 2019),

https://www.justice.gov/opa/pr/federal-government-resume-capital-punishment-after-nearly-two-



1
 Plaintiffs Bourgeois, Mitchell, Lee, and Purkey were sentenced under the Federal Death
Penalty Act, 18 U.S.C. §§ 3591–3599. Plaintiff Honken was sentenced under the Anti-Drug
Abuse Act of 1988, 21 U.S.C. § 848(e).
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decade-lapse. To implement these executions, the Federal Bureau of Prisons (BOP) adopted a

new execution protocol: the 2019 Protocol. (ECF No. 39-1, Admin. R. at 1021–75.)

       On November 20, 2019, the court preliminarily enjoined the executions of four inmates:

Alfred Bourgeois, Daniel Lewis Lee, Dustin Lee Honken, and Wesley Ira Purkey. (ECF No. 50,

Mem. Op. (2019 Order), at 15.) The court found that these four Plaintiffs had demonstrated a

likelihood of success on the merits of their claims that the 2019 Protocol violates the Federal

Death Penalty Act (FDPA), but the court did not rule on their other statutory and constitutional

claims. (Id. at 13–14.) In April of this year, a divided D.C. Circuit panel vacated the preliminary

injunction. In re Fed. Bureau of Prisons’ Execution Protocol Cases, 955 F.3d 106, 113 (D.C.

Cir. 2020), cert. denied sub nom. Bourgeois v. Barr, No. 19-1348, 2020 WL 3492763 (June 29,

2020). That Court based its ruling solely on the Plaintiffs’ claims under the FDPA and the APA,

and noted that “regardless of our disposition, several claims would remain open on remand.”

Execution Protocol Cases, 955 F.3d at 113 (per curiam).

       On June 15, 2020, the DOJ and BOP scheduled new execution dates for three of the four

Plaintiffs whose executions had been preliminarily enjoined by the 2019 Order. (ECF No. 99,

Defs. Notice Regarding Execution Dates.) Defendants intend to execute Lee on July 13, 2020,

Purkey on July 15, 2020, and Honken on July 17, 2020. (Id.) Keith Dwayne Nelson is

scheduled for execution on August 28, 2020. (Id.)

       Because these four Plaintiffs are scheduled to be executed before their claims can be fully

litigated, they have asked this court, pursuant to Federal Rule of Civil Procedure 65 and Local

Rule 65.1, to preliminarily enjoin Defendants from executing them while they litigate their

remaining claims. (ECF No. 102, Pls. Mot. for Prelim. Inj.)




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       On July 2, 2020, the Seventh Circuit stayed Purkey’s execution, and at the time of this

filing, that stay remains in place. 2 Purkey v. United States, No. 19-3318, 2020 WL 3603779 (7th

Cir. July 2, 2020). On July 10, 2020, the Southern District of Indiana preliminarily enjoined

Lee’s execution, see Peterson v. Barr, No. 2:20-cv-350 (S.D. Ind. July 10, 2020), ECF No. 21,

but on July 12, 2020, the Seventh Circuit vacated the injunction. See Peterson v. Barr, No. 20-

2252 (7th Cir. July 12, 2020).

       The last-minute nature of this ruling is unfortunate, but no fault of the Plaintiffs. Cf.

Bucklew v. Precythe, 139 S. Ct. 112, 1134 (2019) (“the last-minute nature of an application that

could have been brought earlier . . . may be grounds for denial of a stay.”) (internal quotations

omitted). The succession of last-minute rulings is the result of the Government’s decision to set

short execution dates even as many claims, including those addressed here, were pending. 3 The

Government is entitled to choose dates, but the court cannot take short cuts in its obligations in

order to accommodate those dates. As the Seventh Circuit wrote last week, “just because the

death penalty is involved is no reason to take shortcuts—indeed, it is a reason not to do so.”

Purkey v. United States, 2020 WL 3603779, at *11.

                                     I.   BACKGROUND

       The Eighth Amendment to the Constitution provides that “excessive bail shall not be

required, nor excessive fines imposed, nor cruel and unusual punishments inflicted.” U.S.




2
 Because the Seventh Circuit affirmed the district court’s denial of Purkey’s petition for writ of
habeas corpus, and only temporarily stayed his execution “pending the completion of
proceedings in the Seventh Circuit,” this court finds it appropriate to preliminarily enjoin his
execution as well as those of the other Plaintiffs. Id. at *11.
3
 Three Plaintiffs filed complaints shortly after the DOJ announced the 2019 Protocol, months
before their initially scheduled executions, and Nelson filed his complaint before Defendants
even announced his execution date.
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CONST. amend. VIII. The Supreme Court declared capital punishment constitutional in 1976,

in Gregg v. Georgia. 428 U.S. 153, 187 (1976) (lifting a de facto moratorium on the death

penalty). Therefore, “there must be a constitutional means of carrying it out.” Glossip v. Gross,

135 S. Ct. 2726, 2732–33 (2015) (citation omitted). Balancing the constitutional legitimacy of

capital punishment with the Eighth Amendment’s prohibition on cruel and unusual methods of

execution has long been the subject of intense debate and litigation since the advent of hanging,

electrocution, and, most recently, lethal injection. Baze v. Rees, 553 U.S. 35, 41–42 (2008).

       The Supreme Court first addressed the application of the Eighth Amendment to lethal

injection in Baze, upholding Kentucky’s then-practice of execution by injection with a three-drug

combination: (1) sodium thiopental, a fast-acting barbiturate sedative; (2) pancuronium bromide,

a paralytic agent that paralyzes the body and stops the lungs; and (3) potassium chloride, which

induces cardiac arrest. Id. at 44. The plaintiffs in that case conceded that, if administered

properly, the three drugs in combination eliminated any “meaningful risk” that the inmate would

experience severe pain but argued that the risk of improper administration was so significant that

the protocol violated the Eighth Amendment. Id. at 49.

       Although the Court upheld Kentucky’s use of the three-drug injection in Baze, state

methods have changed in recent years. Many of the companies that manufacture drugs such as

sodium thiopental have either ceased production or declined to sell them to states for use in

executions. Glossip, 135 S. Ct. at 2733. Some states have sought to maintain their three-drug

protocols while replacing sodium thiopental with sedatives such as propofol, pentobarbital

sodium, and midazolam, the latter of which was upheld by the Supreme Court in Glossip. Id. at

2731. Other states have opted to conduct executions with a single-drug protocol consisting of a

lethal dose of a single sedative. Bucklew v. Precythe, 139 S. Ct. 1112, 1120 (2019).



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       The federal government has likewise changed its execution protocol. In 2005, three

federal death row inmates sued, alleging that their executions were to be administered under an

unlawful and unconstitutional execution protocol. Roane v. Gonzales, 1:05-cv-02337 (D.D.C.),

ECF No. 1 ¶ 2. The court preliminarily enjoined their executions. Roane, ECF No. 5. Four

other death row inmates intervened, and their executions were enjoined as well. See Roane, ECF

Nos. 23, 27, 36, 38, 67, and 68. During this litigation, the government produced a 50-page

document (2004 Main Protocol) outlining BOP execution procedures. Roane, ECF No. 179-3.

The government then produced two three-page addenda to the 2004 Main Protocol. See Roane,

ECF No. 177-3 (Addendum to Protocol, July 1, 2007) (the 2007 Addendum); ECF No. 177-1

(Addendum to Protocol, Aug. 1, 2008) (the 2008 Addendum). In 2011 the DOJ announced that

the BOP did not have the drugs it needed to implement the 2008 Addendum. See Letter from

Office of Attorney General to National Association of Attorneys General, (Mar. 4, 2011),

https://files.deathpenaltyinfo.org/legacy/documents/2011.03.04.holder.letter.pdf. The

government informed the court that the BOP “has decided to modify its lethal injection protocol

but the protocol revisions have not yet been finalized.” Roane, ECF No. 288 at 2. In response,

the court stayed the Roane litigation.

       No further action was taken in the cases for over seven years. On July 24, 2019, the DOJ

announced a new addendum to the execution protocol, (Admin. R. at 874–78), replacing the

three-drug protocol of the 2008 Addendum with a single drug: pentobarbital sodium. (Id. at

879–80.) The BOP also adopted a new protocol to replace the 2004 Main Protocol. (Id. at

1021–72.) The 2019 Protocol provides for three injections, the first two containing 2.5 grams of

pentobarbital in 50 milliliters of diluent each, and the third containing 60 milliliters of a saline

flush. (Id. at 880.) The 2019 Protocol makes no reference to the form or source of the drug, or



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measures of quality control, and its description of the intravenous administration of the drug

simply provides that the Director or designee “shall determine the method of venous access” and

that “[i]f peripheral venous access is utilized, two separate lines shall be inserted in separate

locations and determined to be patent by qualified personnel.” (Id.)

       Following this announcement, the court held a status conference in Roane on August 15,

2019. (See Minute Entry, Aug. 15, 2019.) In addition to the Roane plaintiffs, the court heard

from counsel for three other death row inmates, all of whom cited the need for additional

discovery on the new protocol. (See ECF No. 12, Status Hr’g Tr.) The government indicated

that it was unwilling to stay the executions, and the court bifurcated discovery and ordered

Plaintiffs to complete 30(b)(6) depositions by February 28, 2020, and to file amended complaints

by March 31, 2020. (See Minute Entry, Aug. 15, 2019.)

       Four inmates with scheduled execution dates filed complaints or motions to intervene in

the Roane action challenging the 2019 Protocol, and they each subsequently moved to

preliminarily enjoin their executions. 4 On November 20, 2019, the court granted the four

Plaintiffs’ motions for preliminary injunction, finding that they had demonstrated a likelihood of

success on their claims that the 2019 Protocol exceeds statutory authority. (Mem. Op. at 13, 15.)

The court did not rule on Plaintiffs’ other claims, including that the 2019 Protocol is arbitrary

and capricious under the Administrative Procedure Act (APA), that it violates the Food, Drug,



4
  Lee filed his complaint on August 23, 2019 (see Lee v. Barr, 1:19-cv-02559 (D.D.C.), ECF No.
1), and his motion for a preliminary injunction on September 27, 2019. (ECF No. 13, Lee Mot.
for Prelim. Inj.) On August 29, 2019, Bourgeois moved to preliminarily enjoin his execution.
(ECF No. 2, Bourgeois Mot. for Prelim. Inj.) Honken filed an unopposed motion to intervene in
Lee v. Barr, which was granted. (ECF No. 26, Honken Mot. to Intervene.) He then moved for a
preliminary injunction on November 5, 2019. (ECF No. 29, Honken Mot. for Prelim. Inj.)
Purkey filed a complaint and a motion for a preliminary injunction under a separate case number,
1:19-cv-03214, which was consolidated with Roane. (ECF No. 34, Purkey Mot. for Prelim. Inj.)

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and Cosmetic Act (FDCA) and the Controlled Substances Act (CSA), that it violates Plaintiffs’

right to counsel in violation of the First, Fifth, and Sixth Amendments, and that it is cruel and

unusual in violation of the Eighth Amendment. (Id. at 13.) Following the court’s order, three

additional death row inmates filed complaints under separate case numbers, which in turn were

consolidated with Roane. 5 Defendants moved to stay the court’s preliminary injunction, which

the court denied. (See Minute Order, Nov. 22, 2019.) The D.C. Circuit likewise denied

Defendants’ motion to stay, In re Fed. Bureau of Prisons’ Execution Protocol Cases, No. 19-

5322 (D.C. Cir. Dec. 2, 2019), as did the United States Supreme Court on December 6, 2019.

Barr v. Roane, 140 S. Ct. 353 (2019). However, three Justices issued a statement indicating their

belief that Defendants were likely to prevail on the merits. Id.

       Defendants also filed an interlocutory appeal of the court’s 2019 Order on November 21,

2019. (See ECF No. 52.) On April 7, 2020, the D.C. Circuit reversed. Execution Protocol

Cases, 955 F.3d at 108. Neither of the two judges on the panel who voted to reverse agreed on

the FDPA’s statutory requirements. Id. at 112 (per curiam). Nonetheless, they agreed that

Plaintiffs were unlikely to prevail on the merits of their claims that the 2019 Protocol exceeds

statutory authority. Id. The panel expressly declined to rule on Plaintiffs’ remaining statutory

and constitutional claims, as “the government did not seek immediate resolution of all the

plaintiffs’ claims” and the claims “were neither addressed by the district court nor fully briefed

in this Court.” Id. at 113. The Court of Appeals denied Plaintiffs’ petition for rehearing en banc

on May 15, 2020, and the Supreme Court denied Plaintiffs’ application for a stay of the mandate

and petition for a writ of certiorari on June 29, 2020. Bourgeois, 2020 WL 3492763.




5
 These plaintiffs are Norris G. Holder, Jr., 1:19-cv-3520; Brandon Bernard, 1:20-cv-474; and
Keith Dwayne Nelson, 1:20-cv-557.
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Meanwhile, Plaintiffs filed their Amended Complaint on June 1, 2020, (ECF No. 90, Am.

Compl.), the same day Holder filed a separate supplemental complaint. (ECF No. 94, Holder

Compl.)

        On June 15, 2020, the DOJ announced new execution dates for Plaintiffs. (Defs. Notice

Regarding Execution Dates.) Four days later, Plaintiffs filed a joint motion for a preliminary

injunction on the basis of their unresolved claims. (Pls. Mot. for Prelim. Inj.) Plaintiffs thus ask

the court to preliminarily enjoin Defendants from executing Lee, Purkey, Honken, and Nelson

while they litigate their claims.

                                        II.    ANALYSIS

        The court’s 2019 Order sets forth the legal standard for considering a motion for a

preliminary injunction, which is an “extraordinary remedy” requiring courts to assess four

factors: (1) the likelihood of the plaintiff’s success on the merits, (2) the threat of irreparable

harm to the plaintiff absent an injunction, (3) the balance of equities, and (4) the public interest.

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20, 24 (2008) (citations omitted); John Doe

Co. v. Consumer Fin. Prot. Bureau, 849 F.3d 1129, 1131 (D.C. Cir. 2017). The D.C. Circuit has

traditionally evaluated claims for injunctive relief on a sliding scale, such that “a strong showing

on one factor could make up for a weaker showing on another.” Sherley v. Sebelius, 644 F.3d

388, 392 (D.C. Cir. 2011). It has been suggested, however, that a movant’s showing regarding

success on the merits “is an independent, free-standing requirement for a preliminary

injunction.” Id. at 393 (quoting Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1296

(D.C. Cir. 2009) (Kavanaugh, J., concurring)).




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       A.      Likelihood of Success on the Merits of Plaintiffs’ Eighth Amendment Claims

       Plaintiffs bringing an Eighth Amendment challenge to the method of execution face a

high bar. They must demonstrate that the 2019 Protocol presents a “substantial risk of serious

harm,” and they must identify an alternative method of execution that will significantly reduce

the risk of serious pain and that is feasible and readily implemented. Glossip, 135 S. Ct. at 2737;

see also Bucklew, 139 S. Ct. at 1129 (confirming that “anyone bringing a method of execution

claim alleging the infliction of unconstitutionally cruel pain must meet the Baze-Glossip test.”).

               1.      Substantial Risk of Serious Harm

       It is not enough for Plaintiffs to argue that Defendants’ planned use of pentobarbital will

potentially cause pain. “[B]ecause some risk of pain is inherent in any method of execution, we

have held that the Constitution does not require the avoidance of all risk of pain.” Glossip, 135

S. Ct. at 2733. For the 2019 Protocol to constitute cruel and unusual punishment in violation of

the Eighth Amendment, Plaintiffs must show that it presents a risk of severe pain that is “sure or

very likely to cause serious illness and needless suffering” and gives rise to “sufficiently

imminent dangers,” such that prison officials cannot later plead “that they were subjectively

blameless.” Baze, 553 U.S. at 49–50 (citations omitted). Although the Supreme Court has

cautioned against federal courts becoming “boards of inquiry charged with determining ‘best

practices’ for executions,” id. at 51, this question necessarily requires some weighing of

scientific evidence. See, e.g., Glossip, 135 S. Ct. at 2739 (affirming district court’s findings that

midazolam was “highly likely” to render inmates unable to feel pain during execution).

       The scientific evidence before the court overwhelmingly indicates that the 2019 Protocol

is very likely to cause Plaintiffs extreme pain and needless suffering during their executions.

The declarations submitted by Plaintiffs’ experts illustrate that the majority of inmates executed



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via pentobarbital injection suffered flash pulmonary edema during the procedure. (See ECF No.

26-12, Expert Decl. of Mark Edgar, ¶ 74; ECF No. 24, Expert Decl. of Gail Van Norman,

Autopsy Findings, at 85.) Pulmonary edema, which interferes with breathing, “produces

sensations of drowning and asphyxiation” resulting in “extreme pain, terror and panic.” (Edgar

Decl., ¶¶ 78–80.)

       Eyewitness accounts of executions using pentobarbital describe inmates repeatedly

gasping for breath or showing other signs of respiratory distress, and indicate that flash

pulmonary edema is common and extremely painful. (Id.) Dr. Gail Van Norman concluded that

it is a “virtual medical certainty that most, if not all, prisoners will experience excruciating

suffering, including sensations of drowning and suffocation” during an execution conducted in

accordance with the 2019 Protocol. (Van Norman Decl. ¶ 18.)

       Defendants urge the court to disregard these findings. They first contend that the

Supreme Court has already upheld similar methods of execution, and that the pain associated

with pulmonary edema is not severe enough to render the 2019 Protocol unconstitutional. (See

ECF No. 113-1, Defs. Opp. to Pls. Mot., at 22–25.) But the cases upon which Defendants rely

are inapposite. Neither Baze nor Glossip involved a single-drug protocol or the use of

pentobarbital, and the fact that some plaintiffs in those and other cases suggested that

pentobarbital would be a constitutional alternative does not invalidate the expert testimony

before the court, which indicates otherwise. Glossip, 135 S. Ct. at 2738; Baze, 553 U.S. at 56–

57. Bucklew did involve a challenge to pentobarbital, but one unique to that plaintiff’s medical

condition—he argued that vascular tumors caused by his cavernous hemangioma would prevent

the pentobarbital from working as intended, and thus brought an as-applied challenge to a

procedure that he conceded was “constitutional in most applications.” 139 S. Ct. at 1118, 1120.



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Plaintiffs, of course, concede no such thing, and in fact allege the opposite. (See Pls. Mot. for

Prelim. Inj. at 34.)

        Defendants also urge the court to follow the Sixth Circuit’s recent decision, In re Ohio

Execution Protocol Litigation, which rejected an Eighth Amendment claim based on the risk of

pulmonary edema during execution, and which Plaintiffs claim misinterpreted Bucklew. 946

F.3d 287 (6th Cir. 2019), (Pls. Mot. for Prelim. Inj. at 35 n.12.) Defendants initially relied on the

Sixth Circuit’s holding that “neither pulmonary edema nor the symptoms associated with it

qualify as the type of serious pain prohibited by the Eighth Amendment,” but after the first round

of briefing in this case last year, the Sixth Circuit issued an amending and superseding opinion

omitting this language. Compare 937 F.3d 759, 762 (6th Cir. 2019), with 946 F.3d at 290.

Although the Sixth Circuit’s amended opinion does suggest that the risk of pain associated with

sensations of drowning and suffocation is akin to that of hanging, it does not reach a conclusion

as to whether pulmonary edema can result in pain that is so severe as to violate the Eighth

Amendment. 946 F.3d at 290.

        In any event, this case is factually distinct from Ohio Execution Protocol. That case not

only involved a different execution protocol using a different drug—a three-drug protocol

employing midazolam as the first drug rather than a one-drug protocol relying exclusively on

pentobarbital—but it held that the plaintiff had failed to provide “evidence showing that a person

deeply sedated by a 500 milligram dose of midazolam is still ‘sure or very likely’ to experience

an unconstitutionally high level of pain.” Id. Here, Plaintiffs have amassed an extensive factual

record, and their experts have concluded that there is a “virtual medical certainty” that the 2019

Protocol will result in “excruciating suffering.” (Van Norman Decl. at 7.)




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       Defendants do not contest Plaintiffs’ evidence that the majority of individuals executed

via pentobarbital suffer flash pulmonary edema, but they have submitted expert testimony

arguing that the pulmonary edema occurs either post-mortem or after the inmate has been

rendered insensate. (See Defs. Opp. to Pls. Mot. at 12–13; ECF No. 111-4, Expert Decl. of

Joseph Antognini, ¶ 8.) Thus, the question of whether the 2019 Protocol is significantly likely to

cause serious pain turns on the narrower question of whether the pentobarbital is likely to render

inmates insensate or dead before they experience the symptoms of pulmonary edema.

       Plaintiffs have the better of the scientific evidence on this question. Dr. Van Norman

demonstrates that flash pulmonary edema can only occur in still-living subjects, and that it

develops “almost instantaneously” following injection. (ECF No. 117-1, Supp. Decl. of Gail

Van Norman, ¶¶ 19–24.) Defendants argue that Plaintiffs concede that pentobarbital renders

patients insensate very rapidly, (Defs. Opp. to Pls. Mot. at 12), but the evidence indicates no such

concession. Dr. Van Norman specifically states that barbiturates like pentobarbital render

patients “unresponsive” but still conscious and capable of experiencing the severe pain

associated with flash pulmonary edema. (Van Norman Supp. Decl. ¶¶ 10–13, 21.) While Dr.

Antognini disputes these findings, he does not undermine them. (See ECF No. 122-2, Supp.

Decl. of Joseph Antognini, ¶¶ 20–23.) Dr. Van Norman’s conclusion is also supported by

eyewitness accounts of previous executions using pentobarbital, in which inmates visibly gasped

for breath, and autopsies that revealed “foam or froth” in the inmates’ airways, a phenomenon

that occurs when the edema fluid mixes with air while the inmate is still attempting to breathe.

(See, e.g., Edgar Decl. ¶¶ 78–79.)

       While it is difficult to weigh competing scientific evidence at this relatively early stage,

the factual record indicates that Plaintiffs are likely to succeed on the merits of their claims that



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the 2019 Protocol poses a substantial risk of serious pain. They have thus met the first prong of

their burden on their Eighth Amendment claims.

               2.      Known and Available Alternatives

       Plaintiffs argue that several alternative methods of execution will significantly reduce the

substantial risk of serious pain. (Pls. Mot. for Prelim. Inj. at 36–40.)

       Procedural safeguards. Plaintiffs claim Defendants could implement a number of

procedural safeguards, including (1) requiring the use of two functioning peripheral IV lines and

placing limits on the use of a central line, (2) administering the lethal-injection protocol bedside,

and (3) implementing additional procedures to respond to unexpected occurrences. (Id. at 37–

39.)

       Defendants correctly characterize these proposals as mere “failsafes” that do not render

the planned method of execution unconstitutional. Baze, 553 U.S. at 60–61. Plaintiffs’ proposal

regarding the placement of IV lines is the type of “slightly or marginally safer alternative” that

the Supreme Court has previously rejected. Id. at 51. Moreover, the vague suggestion of adding

procedures to better respond to problems that may arise during the execution seems aimed at an

“isolated mishap,” rather than the substantial risk of serious pain from the use of pentobarbital.

See id. at 50. The alleged benefits of bedside administration of pentobarbital are likewise aimed

at reducing the risk of maladministration. (See Pls. Mot. for Prelim. Inj., at 38–39.) In sum, it

appears likely that implementing these measures would result in a “minor reduction in risk” at

best. Bucklew, 139 S. Ct. at 1130.

       Pre-dose of opioid pain or anti-anxiety medication. Plaintiffs have demonstrated that a

pre-dose of certain opioid pain medication drugs, such as morphine or fentanyl, will significantly

reduce the risk of severe pain during the execution. (Pls. Mot. for Prelim. Inj. at 36–37; ECF No.



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25, Expert Decl. of Craig Stevens, ¶¶ 15–16.) Defendants argue that this proposal lacks

sufficient detail, that no state currently uses analgesics in its execution procedures, and that

pentobarbital alone is sufficiently painless. (Defs. Opp. to Pls. Mot. at 32.)

        This court has already found that pentobarbital alone poses an unconstitutionally

significant risk of serious pain, and it finds Defendants’ remaining arguments to be unavailing.

While Bucklew emphasized that a proposed alternative method of execution must be not just

“theoretically feasible but also readily implemented,” this simply means that the proposal must

be “sufficiently detailed to permit a finding that the State could carry it out relatively easily and

reasonably quickly.” 139 S. Ct. at 1129 (internal quotation marks omitted). See also id. at 1128

(noting that the burden of identifying an alternative means of execution “can be overstated.”).

The class of medications identified by Plaintiffs, and the proposed dosage of morphine and

fentanyl more specifically, meet this standard. (Stevens Decl. ¶¶ 7–16.)

        The fact that other states have not adopted Plaintiffs’ proposed method of using pain

medication is also not dispositive. See Bucklew, 139 S. Ct. at 1136 (Kavanaugh, J., concurring)

(“I write to underscore the Court’s additional holding that the alternative method of execution

need not be authorized under current state law. . . . Importantly, all nine Justices today agree on

that point.”).

        Defendants argue that as in Bucklew and Baze, Plaintiffs’ proposed alternative has “no

track record of successful use,” id. at 1130, and is “untried and untested.” Baze, 553 U.S. at 41.

But this case presents a different scenario. In Bucklew, the plaintiff proposed execution by

nitrogen hypoxia, but even after “extensive discovery,” he provided only a “bare-bones”

proposal premised on “unsupported, if not affirmatively contradicted” assertions regarding its

effectiveness. 139 S. Ct. at 1121, 1129–30. In Baze, the plaintiff’s proposal of a one-drug



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protocol was offered “without any findings on [its] effectiveness” and relied heavily on

comparisons to animal euthanasia. 553 U.S. at 56–58. Here, Plaintiffs’ proposal is simpler, and

is supported by substantial scientific evidence of its effectiveness in non-lethal human treatment.

Moreover, the parties agree that Nebraska recently used a pre-dose of fentanyl for the precise

purpose of reducing the risk of serious pain during an execution. In sum, Plaintiffs have not

proposed a complex medical procedure, lacking in detail and possibly requiring years of further

research, but a simple addition to the execution procedure that is likely to be as effective as it is

easily and quickly administered. See Bucklew, 139 S. Ct. at 1129.

       Finally, Defendants contend that the BOP already considered and rejected using fentanyl

in executions, in part due to speculation that manufacturers would refuse to supply it. (Defs.

Opp. to Pls. Mot. at 32.) Although Defendants do not make the same argument regarding the

availability of morphine, it is true that the government cannot be faulted for failing to use a drug

it has been unable to obtain through good-faith efforts. Glossip, 135 S. Ct. at 2738. But

Defendants have provided no evidence of such efforts; they merely assert that manufacturers

would “most likely” resist efforts to use fentanyl in executions. (Admin. R. at 869.) This is a far

cry from showing that they are unable to procure fentanyl for Plaintiffs’ executions.

       Firing squad. Alternatively, Plaintiffs proffer execution by firing squad. (Pls. Mot. for

Prelim. Inj. at 39–40.) Because that method of execution is feasible, readily implemented, and

would significantly reduce the risk of severe pain, it satisfies the Blaze-Glossip requirements for

proposed alternatives. Execution by firing squad is currently legal in three states, Utah,

Oklahoma, and Mississippi, and can hardly be described as “untried” or “untested” given its

historical use as a “traditionally accepted method of execution.” Bucklew, 139 S. Ct. at 1125.




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Furthermore, the last execution by firing squad in the United States occurred just over a decade

ago, on June 18, 2010, in Utah.

       Both the historical use of firing squads in executions and more recent evidence suggest

that, in comparison to the 2019 Protocol, execution by firing squad would significantly reduce

the risk of severe pain. See, e.g., Deborah Denno, Is Electrocution an Unconstitutional Method

of Execution? The Engineering of Death Over the Century, 35 Wm. & Mary L. Rev. 551, 688

(1994) (“A competently performed shooting may cause nearly instant death”); Austin Sarat,

Gruesome Spectacles: Botched Executions and America’s Death Penalty 117, App. A. (2014)

(calculating that, of all executions conducted since 1900, executions by firing squad had the

lowest rate of “botched” executions—zero out of thirty-four—of any method).

       Defendants point to several cases from other Circuits in which courts appeared skeptical

of these conclusions. (Defs. Opp. to Pls. Mot. at 34–35.) Again, however, they overlook the

Supreme Court’s guidance in Bucklew that a plaintiff’s burden in identifying an alternative

method of execution “can be overstated” and that there is “little likelihood that an inmate facing

a serious risk of pain will be unable to identify an available alternative.” 139 S. Ct. at 1128–29.

Indeed, members of the Court, including at least one Justice in the Bucklew majority, have

opined that the firing squad may be an immediate and sufficiently painless method of execution.

See, e.g., id. at 1136 (Kavanaugh, J., concurring); Arthur v. Dunn, 137 S. Ct. 725, 734 (2017)

(Sotomayor, J., dissenting from denial of cert.) (“In addition to being near instant, death by

shooting may also be comparatively painless.”). Moreover, given that use of the firing squad is

“well established in military practice,” Baze, 553 U.S. at 102 (Thomas, J., concurring),

Defendants are, if anything, more capable than state governments of finding “trained marksmen




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who are willing to participate,” and who possess the skill necessary to ensure death is near-

instant and comparatively painless. McGehee v. Hutchinson, 854 F.3d 488, 494 (8th Cir. 2017).

       Defendants also argue that execution by firing squad is not a “readily available” method

of execution. It is true that, compared to the relative ease with which opioids could be added to

the existing execution protocol, execution by firing squad would mean a complete transformation

of the government’s method of execution. Therefore, Defendants argue, the court should defer

to the government’s “legitimate reasons” for choosing not to adopt the firing squad as a method

of execution—that legitimate reason being that the firing squad is so rarely used. (Defs. Opp. to

Pls. Mot. at 36.)

       Defendants’ logic is somewhat circular. See, e.g., Arthur, 137 S. Ct. at 729 (Sotomayor,

J., dissenting from denial of cert.) (reasoning that allowing a state to conduct an unconstitutional

execution simply because it declines to authorize any alternative “cannot be right”). See also

Bucklew, 139 S. Ct. at 1128 (“The Eighth Amendment is the supreme law of the land, and the

comparative assessment it requires can’t be controlled by the State’s choice of which methods to

authorize in its statutes.”). Indeed, Defendants’ argument implicitly asks the court to follow the

Eleventh Circuit’s holding that a proposed alternative method of execution must be authorized

by law. Arthur v. Comm’r, Ala. Dep’t of Corr., 840 F.3d 1268, 1317–18 (11th Cir. 2016). Yet

the Eleventh Circuit acknowledged last year that Bucklew “demonstrates our conclusion in

Arthur was incorrect.” Price v. Comm’r, Ala. Dep’t of Corr., 920 F.3d 1317, 1326 (11th Cir.

2019), cert. denied sub nom. Price v. Dunn, 139 S. Ct. 1542 (2019).

       The court declines to opine on whether the firing squad would be an acceptable

alternative method of execution in every case. However, it finds that Defendants could readily

adopt Plaintiffs’ proposal. Even if Bucklew is read as requiring Plaintiffs to plead a method of



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execution that is currently authorized by at least one state, the firing squad is currently authorized

by three states and was used relatively recently in one. More importantly, the federal

government is uniquely capable of consulting with Utah and adopting its existing protocol.

Defendants’ final argument is that Plaintiffs’ stated preference for execution by firing squad is

insincere. (Defs. Opp. to Pls. Mot. at 37.) But the court notes that Plaintiffs have argued for it at

length, and have adequately shown that it is readily implemented, available, and would

significantly reduce the risk of severe pain. Cf. Bucklew, 139 S. Ct. at 1136 (Kavanaugh, J.,

concurring) (rejecting possibility of execution by firing squad where the plaintiff had chosen not

to plead it as an alternative).

        Plaintiffs have identified two available and readily implementable alternative methods of

execution that would significantly reduce the risk of serious pain: a pre-dose of opioid pain or

anti-anxiety medication, or execution by firing squad. Thus, they have established a likelihood

of success on the merits of their claims that the 2019 Protocol’s method of execution constitutes

cruel and unusual punishment in violation of the Eighth Amendment. Given this finding, the

court need not reach Plaintiffs’ other remaining claims. 6




6
  The court is mindful of the prudential rule that when a case can be decided on purely statutory
grounds, courts should avoid constitutional questions. See Ashwander v. Tenn. Valley Auth., 297
U.S. 288, 347 (1936) (Brandeis, J., concurring). But this “is a rule of prudence, not an absolute
command.” Int’l Refugee Assistance Project v. Trump, 883 F.3d 233, 351 (4th Cir. 2018)
(Harris, J., concurring) (citations omitted), vacated on other grounds, 138 S. Ct. 2710 (2018); see
also Trump v. Hawaii, 138 S. Ct. 2392, 2434 (2018) (Sotomayor, J., dissenting) (“That rule of
thumb is far from categorical, and it has limited application where, as here, the constitutional
question proves far simpler than the statutory one.”). Plaintiffs’ remaining statutory claims raise
novel and complex questions that, as Defendants themselves note repeatedly, could result in far-
reaching and unpredictable consequences. In contrast, Plaintiffs’ Eighth Amendment claims
require the court to preliminarily enjoin the 2019 Protocol for the “more fundamental reason”
that it creates an unconstitutionally significant risk of serious pain. Id.
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          B.     Irreparable Harm

          The court’s analysis of irreparable harm is unchanged from its 2019 Order. In order to

prevail on a request for preliminary injunction, irreparable harm “must be certain and great,

actual and not theoretical, and so imminent that there is a clear and present need for equitable

relief to prevent irreparable harm,” and it “must be beyond remediation.” League of Women

Voters of U.S. v. Newby, 838 F.3d 1, 7–8 (D.C. Cir. 2016) (citing Chaplaincy of Full Gospel

Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)) (internal quotation marks and

brackets omitted). Here, without injunctive relief, Plaintiffs would be unable to pursue their

remaining claims, including the claims that the method of planned execution under the 2019

Protocol is cruel and unusual in violation of the Eighth Amendment, and would therefore be

executed under a procedure likely to be unconstitutional. This harm is manifestly irreparable.

          Other courts in this Circuit have found irreparable harm in similar, but less dire

circumstances. See, e.g., Damus v. Nielsen, 313 F. Supp. 3d 317, 342 (D.D.C. 2018) (finding

irreparable injury where plaintiffs faced detention under challenged regulations); Stellar IT Sols.,

Inc. v. USCIS, No. 18-2015 (RC), 2018 WL 6047413, at *11 (D.D.C. Nov. 19, 2018) (finding

irreparable injury where plaintiff would be forced to leave the country under challenged

regulations); FBME Bank Ltd. v. Lew, 125 F. Supp. 3d 109, 126–27 (D.D.C. 2015) (finding

irreparable injury where challenged regulations would threaten company’s existence); N.

Mariana Islands v. United States, 686 F. Supp. 2d 7, 19 (D.D.C. 2009) (finding irreparable

injury where challenged regulations would limit guest workers). No member of the D.C. Circuit

panel on appeal challenged the court’s finding in its 2019 Order that Plaintiffs would suffer

irreparable harm absent preliminary relief, and Defendants do not dispute that irreparable harm is

likely.



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        Based on the record before it, the court finds that Plaintiffs have shown that absent

injunctive relief, they will suffer the irreparable harm of being executed under a likely

unconstitutional procedure before their claims can be fully adjudicated.

        C.      Balance of Equities

        Defendants argue that if the court preliminarily enjoins the 2019 Protocol, they will suffer

the harm of having to delay the scheduled execution dates. (See Defs. Opp. to Pls. Mot. at 57.)

The government’s interest in the finality of criminal proceedings, including capital cases, is

compelling. Calderon v. Thompson, 523 U.S. 538, 556 (1998). On the other hand, the fact that

the government waited eight years to establish a new protocol undermines its arguments

regarding the urgency and weight of that interest. The government may have had valid reasons

to proceed with caution, but it can hardly now claim that any further delay would cause it

substantial harm. The court notes that while almost eight months have passed since its 2019

Order, Plaintiffs still have not been afforded sufficient opportunity to evaluate the 2019

Protocol—it was Defendants who initially declined to stay Plaintiffs’ executions to allow

discovery on the Protocol. (Status Hr’g Tr. at 6, 10–11.)

        Indeed, where the Supreme Court has been sympathetic to the government’s need for

finality in capital cases, it has generally been in cases where plaintiffs waited until the last

minute to bring claims that could have been brought earlier, or engaged in a clear “attempt at

manipulation” of the judicial process. Bucklew, 139 S. Ct. at 1134 (quoting Hill v. McDonough,

547 U.S. 573, 584 (2006)). Here, however, three of the four Plaintiffs filed their complaints

shortly after the DOJ announced the 2019 Protocol, months before their initially scheduled

executions, and Nelson filed his complaint before Defendants even announced his execution




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date. Plaintiffs are not raising new claims that they could have brought in their initial

complaints, but rather renewing the Eighth Amendment arguments made in their initial motions.

       Given this background, the court finds that the potential harm to the government caused

by a delayed execution is not substantial, and is outweighed by the irreparable harm Plaintiffs

would face absent an injunction. 7

       D.      Public Interest

       As noted in the court’s 2019 Order, the public interest is not served by executing

individuals before they have had the opportunity to avail themselves of the legal process to

challenge the legality of their executions. “Applying the law in a way that violates the

Constitution is never in the public’s interest.” Minney v. United States Office of Pers. Mgmt.,

130 F. Supp. 3d 225, 236 (D.D.C. 2015) (emphasis in original). See also Purkey v. United

States, 2020 WL 3603779, at *11 (“Just because the death penalty is involved is no reason to

take shortcuts—indeed, it is a reason not to do so.”); Cooey v. Taft, 430 F. Supp. 2d 702, 708

(S.D. Ohio 2006) (“The public interest has never been and could never be served by rushing to

judgment at the expense of a condemned inmate’s constitutional rights.”); Harris v. Johnson, 323

F. Supp. 2d 797, 810 (S.D. Tex. 2004) (“Confidence in the humane application of the governing

laws . . . must be in the public’s interest.”). Accordingly, the court finds that the public interest

is served by preliminarily enjoining Plaintiffs’ executions because it will allow judicial review of

whether the United States Government’s planned execution protocol complies with the Eighth

Amendment, and to ensure that it does so in the future.



7
 In his separate Opinion, Judge Katsas found that this was a case in which the balance of
equities favored the government. Execution Protocol Cases, 955 F.3d at 126 (Katsas, J.,
concurring). However, he noted that this was partly because the claims then before the Court
presented no “colorable dispute that pentobarbital will cause anything but a swift and painless
death.” Id. at 128–29. Plaintiffs’ Eighth Amendment claims now raise precisely this dispute.
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                                    III.    CONCLUSION

       The court finds that at least one of Plaintiffs’ claims has a likelihood of success on the

merits, and that absent a preliminary injunction, Plaintiffs will suffer irreparable harm. It further

finds that the likely harm that Plaintiffs would suffer if the court does not grant injunctive relief

far outweighs any potential harm to Defendants. Finally, because the public is not served by

short-circuiting legitimate judicial process, and is greatly served by attempting to ensure that the

most serious punishment is imposed in a manner consistent with our Constitution, the court finds

that it is in the public interest to issue a preliminary injunction. Accordingly, having reviewed

the parties’ filings, the record, and the relevant case law, and for the reasons set forth above, the

court will GRANT Plaintiffs’ Motion for a Preliminary Injunction. A corresponding order will

be issued simultaneously.



Date: July 13, 2020


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
In the Matter of the                           )
Federal Bureau of Prisons’ Execution           )
Protocol Cases,                                )
                                               )
LEAD CASE: Roane, et al. v. Barr               )       Case No. 19-mc-145 (TSC)
                                               )
THIS DOCUMENT RELATES TO:                      )
                                               )
Lee v. Barr, et al., 19-cv-2559                )
                                               )
Purkey v. Barr, et al., 19-cv-3214             )
                                               )
Nelson v. Barr, et al., 20-cv-557              )
                                               )

                                            ORDER

        For the reasons set forth in the accompanying Memorandum Opinion, the court hereby

GRANTS Plaintiffs’ Motion for a Preliminary Injunction (ECF No. 102).

        It is hereby ORDERED that Defendants (along with their respective successors in office,

officers, agents, servants, employees, attorneys, and anyone acting in concert with them) are

enjoined from executing Plaintiffs Daniel Lewis Lee, Wesley Ira Purkey, Dustin Lee Honken,

and Keith Dwayne Nelson until further order of this court.



Date: July 13, 2020


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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